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IN. THE CIRCUIT COURT IN AND FOR ESCAMBIA COUNTY, FLORIDA

 

DAVID B. FREEMAN, )
}
Plaintiff, )
)

v. ) Case No.:
)
COMERICA BANK & TRUST, N.A., —)
As Successor Trustee of }
THE MCAULEY MARITAL TRUST )
U/W DATED 3/24/2006, 5)
)
Defendant. )
}
)

COMPLAINY

 

COMES NOW Plaintiff David B. Freeman (“Plaintiff?) and sues Defendant
Comerica Bank & Trust, N.A., as Successor Trustee of The McAuley Marital Trust U/W
dated 3/24/2006 (“Defendant”), and alleges:
JURISDICTION AND VENUE

1. This is an action for declaratory judgment and damages that exceed
$15,000.00, exclusive of interest, costs, and attorncy’s fees.

2. Plaintiff is an individual domiciied in Baldwin County, Alabama.

3. Michael Freeman McAuley (“McAuley”) is a deceased individual born
June 11, 1938, and domiciled in Dallas (Harris County), Texas, at the time of his death in
2006.

4. Upon information and belief, Defendant is a banking corporation with its

principal place of business in Harris County, Texas. Defendant is also Successor Trustee
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of The McAuley Marital Trust U/W dated 3/24/2006 (“McAuley Trust”), a testamentary
trust established by the Last Will and Testament of McAuley.

5, Defendant operates, conducts, engages in, and cares on a business

venture in the State of Florida.

6. Defendant committed a tortious act within the State of Florida.
7. Venue is proper in Escambia County, Florida, pursuant to section 47.05},
Florida Statutes.
FACTUAL BACKGROUND

 

8. On or about August 31, 1981, Plaintiff, McAuley (Plaintifi's cousin), and
one Patrick Duffy (“Duffy”) formed the Perdido Key Joint Venture (Joint Venture”) to
acquire and develop certain real property in Escambia County, Florida (‘Joint Venture
Property”).

2. Plaintiff's initial contribution to the Joint Venture consisted of ownership
rights in the Joint Venture Property. In exchange for this initial contribution, Plaintiff
received 40% ownership of the Joint Venture.

10.  McAuley’s and Duffy’s initial contributions to the Joint Venture were
contract rights to purchase the Joint Venture Property. In exchange for their mitial
contributions, McAuley received 40% ownership of the Joint Venture and Duffy received
20% ownership of the Joint Venture.

11. The original jomt venture agreement was superseded in September 1981
by a First Revised Joint Venture Agreement (1% IVA”), which provided for transfer of

the property into another entity for development.
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12. Subsequent “venturers” provided the capitalization necessary to acquire
the Joint Venture Property and said Property was in fact acquired.

13. In 1983, the 1“ IVA was amended to provide for an exchange of the Joint
Venture Property for a condominium unit. See Second Revised Joint Venture Agreement
2" JVA"), a true and correct copy of which is attached hereto and incorporated herein
as Exhibit “A.”

14. Pursuant to the terms of the 2°° VA:

a. The three initial veniurers (Plaintiff, McAuley, and Duffy)
collectively owned fifty percent (50%) of the Joint Venture, and the subsequent or
“additional” venturers collectively owned fifty percent (50%) of the Joint Venture.

b. The initial venturers’ fifty percent (50%) was allocated in accordance
with their original ownership percentages, such that Plaintiff and McAuley each owned
twenty percent (20%) of the Joint Venture and Duffy owned ten percent (10%).

c. Ali venturers had the exclusive right to occupy the Joint Venture
Property for two (2) weeks each year.

d. The managing venturers (Plaintiff, McAuley and Duffy) had day-
to-day management, operation, and contro] of the Joint Venture.

&. A venturer could not assign, sell, transfer, hypothecate, or
otherwise dispose of his interest in the Joint Venture without the prior written consent of
sixty percent (60%) in interest of the venturers.

1. Within the 24 JVA, the venturers expressly acknowledged and approved
an assignment by Plaintiff of twenty-five percent (25%) of his interest (Le, a 5%

ownership interest in the Joint Venture) to one Robert Griffin.
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16. From the time the Joint Venture took possession of the condominium unit
thenceforth, “Joimt Venture Property”), Plaintiff and his wife manayed the Joint Venture
Property.

17. McAuley handled scheduling of the venturers’ respective “weeks” at the
Joint Venture Property and the finances of the Joint Venture.

18. In 1984, Plaintiff borrowed $6,500.00 from McAuley. Plaintiff issued a
promissory note to McAuley to evidence the debt, but McAuley insisted that security for
repayment of the debt was not needed. The parties did not discuss a timeframe for
repayment of the debt.

19. In January 1990, Plaintiff borrowed an additional $1,750.60 from
McAuley (together with the 1984 loan, “Debt”). Again, McAuley declined security for
the Debt and no timeframe for repayment was discussed.

20. Plaintiff suggested that McAuley accept an assignment of his interest in
the Joint Venture as security for the Debt, to preserve McAuley’s priority of repayment
as against any of Plaintiff's other creditors. At Plaintiff's insistence, McAuley instructed
his lawyer to draft such an agreement.

21. On or about January 31, 1990, McAuley presented to Plaintiff and
Plaintiff signed an Assigament of Joint Venture Interest, which Plaintiff and McAuley
understood to be an assignment as security for repayment of the Debt. See Assignment of
Joint Venture Interest (“Assignment”), a true and correct copy of which is attached hereto
and incorporated herein as Exhibit “B.”

22. ‘Plaintiff and McAuley did not inform the other venturers of the Debt or

the Assignment, which was a private matter between cousins.
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23, Following execution of the Assignment until McAuley’s death, Plaintiff,
McAuley, and the other venturers conducted business as usual with respect to the Joint
Venture and the Joint Venture Property.

24. Plaintiff and his wife continued to manage the Joint Venture Property and
occupy the same during thei allotted two weeks each year.

25. Plaintiff's ownership of his interest in the Joint Venture was never
challenged or questioned, and McAuley never demanded payment of the Debt.

26. In September 1998, Hurricane Georges damaged the unit. Plaintiff, with
the help of his wife, Alice (Mrs. Freeman”), coordinated and managed the necessary
remodeling as a managing venture of the Joint Venture.

27. In September 2004, Hurricane Ivan nearly destroyed the Joint Venture
Property. Plaintiff and Mrs. Freeman coordinated, managed, and physically participated
in the remodeling, redecorating, and refurbishing of the Joint Venture Property.

28. During the course of the four-year remodel, Plammtiff signed multiple
contracts with engineers and other service providers as owncr of the Jomt Venture
Property, with the blessing of the other venturers.

29. Plaintiff and Mrs. Freeman committed countless hours and effort to the
remodeling and rebuilding of the Joint Venture Property following the above-referenced
storms without compensation for said time and/or effort.

30. At all times during the various remodeling and rebuilding of the Joint
Venture Property, Plaintiff and his wife were led to believe and did in fact believe that
Plaintiff was part-owner of the Joint Venture.

31. On or about June 5, 2606, McAuley died.
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32. Upon McAuley’s death, Duffy assumed McAuley’s management duties
for the Joint Venture and the Joint Venture continued business as usual, with the
exception that McAuley’s widow assumed McAulcy’s right to occupy the Joint Venture
Property for two (2) wecks each year.

33. In 2008, Plaintiff was even sued as owner of the Joint Venture Property by
a service provider to the Property.

34, On or about January 12, 2009, Plaintiff received a letter from an attorney
purporting to act on behalf of Frost National Bank (“Frost Bank”} as Trustee of The
McAuley Marital Trust U/W dated 3/24/2006 (“McAuley Trust”), which . See Letter
dated January 12, 2009, from Jeffrey L. Fisher to David B. Freeman, Uf (Termination
Letter”), a true and correct copy of which is attached hereto and incorporaied herein as
Exhibit “C.”

35, In the Termination Letter, Frost Bank claimed that (1) Plaintiff had
assigned all of his interest in the Joint Venture to McAuley under the Assignment, (2)
said interest was owned by Frost Bank as Trustee of the McAuley Trust, and (3) the Joimt
Venture and the McAuley Tmist asked that Frost Bank notify Plaintiff that, effective
immediately, Plaintiff was no longer allowed access to the Joint Venture Property. The
Termination Letter also asked Plaintiff to forward all keys to the Joint Venture Property.

36. On ot about February 4, 2009, Plaintiff's lawyer responded to the
Termination Letter, (1) denying the McAuley Trust’s interpretation of the intent of the
Assignment, (2) affirming that both McAuley and his wife Becky acknowledged the true
nature of the Assignment, and (3) asserting that the McAuley Trust was estopped from -

claiming otherwise. See Letter dated February 4, 2009, from Irvin Grodsky to Jeffrey L.
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Fisher, a true and correct copy of which is attached hereto and incorporated herein as
Exhibit “D.”

37, On or about February 16, 2009, Frost Bank answered Plaintiff's response,
indicating that Becky McAuley had no recollection of such an arrangement and that the
Assignment, by its terms, was not ambiguous. See Letter dated February 16, 2009, from
Jeffrey L. Fisher to Irvin Grodsky, a true and correct copy of which is attached hereto and
incorporated herein as Exhibit “E.”

38. On or about August 28, 2009, Plaintiff sent Frost Bank a letter concerning

his denial of use of the Joint Venture Property, highlighting the inconsistencies between
the McAuley Trust’s interpretation of the Assignment and McAuley’s behavior during
his lifetime and offering to pay the Debt, plus interest, in exchange for cancellation of the
Assignment and recognition of Plaintiffs ownership rights. See Letter dated August 28,
2009, from Irvin Grodsky to Jeffrey L. Fisher, a true and correct copy of which is
attached bereto and incorporated herein as Exhibit “F.”

39. Onor about September 14, 2009, Frost Bank responded to Plaintiff's letter
on behalf of Becky McAuley, refusing to accept Plaintiff's offer without written
documentation questioning the validity of the Assignment. See Letter dated September
14, 2009, from Mary Coane to Irvin Grodsky, a true and correct copy of which is
attached hereto and incorporated herein as Exhibit “G.”

AQ, On or about August 17, 2011, Plaintiff sent Frost Bank a final letter
demanding that it cease wrongfully interfering with Plaintiff's use and enjoyment of his
interest in the Joint Venture, disclosing written documentation that the Assignment was

legally invalid (including citation to legal authority) and re-asserting other contractual and
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equitable defenses to the McAuley Trust’s actions regarding the same. See Letter dated
August 17, 2011, fom J. Nixon Daniel, III to Jeffrey L. Fisher (Demand Letter”), a true
and correct copy of which is attached hereto and incorporated herein as Exhibit “H.”

4. On or about August 25, 2011, Defendant notified Plaintiff that Frost Bank
had been removed as Trustee of the McAuley Trust and that Defendant was appointed
Successor Trustee. Defendant stated that it was in possession of the Demand Letter and
would review and respond to the same.

42, On or about October 7, 2011, Defendant declined Plaintiff's final offer of
settlement, as set forth in the Demand Letter.

43, At all times following his receipt of the initial Termination Letter, Plaintiff
acknowledged and offered to pay the Debt, as originally contemplated by the parties,
upon the McAuley Trust’s release of its claim to his interest in the Joint Venture.

COUNT | -- DECLARATORY JUDGMENT

44. Plaintiff re-asserts paragraphs 2 through 43 as if fully set forth herein.

AS. This is an action for declaratory relief.

AG, There is a bona fide; actual, present practical need for a declaration as to
the existence of any right(s) of Defendant to Plaintiff's interest in the Joint Venture under
the Assignment.

AT. There is a bona fide, actual, present practical need for a declaration as to
the validity of the Assignment upon which any such rignt(s) are founded.

48. Said declarations deal with a present, ascertained state of facts or a present
controversy as to a state of facts.

49. Plaintiff's rights are dependent upon the law applicable to the facts.
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50. Defendant has an actual, present, adverse and antagonistic interest in the
subject matter in fact and/or law.
S51. Defendant is before the Court by proper process.
52. The relief sought is not merely the giving of legal advice by the Court or
the answer to questions propounded from curiosity.
53. The Assignment does not meet the requirements for a valid assignment of
a venturer’s interest in the Joint Venture under the 2 IVA,
54. Plaintiff and McAuley did not obtain the prior written consent of sixty
percent (60%) in interest of the venturers prior to the alleged assignment.
55, The Assignment is invalid as a matter of law.
56. Plaintiff incurred costs in the bringing of this declaratory action.
WHEE EFORE, Plaintiff demands declaratory judgment against Defendant that
(1) the Assignment is an invalid assignment of Plaintiff's interest in the Joint Venture as
a tnatter of law, and (2) Defendant’s rights under the Assignment are limited to the rights
of an unperfected secured creditor of Plaintiff.
| COUNT IL- CONVERSION
57, Plaintiff re-asserts paragraphs 2 through 43 as if fully set forth herein.
58. This is an action for damages in excess of the minimum jurisdictional

limits of this Court.

59. At all times material hereto, Plaintiff owned a 15% interest in the Joint

Venture.
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60. Defendant unlawfully, wrongfully, and without authorization assumed
and exercised dominion and control over Plaintiffs interest to the detriment and
exclusion of, and inconsistent with, Plaintiff's rights as the owner thereof.

61. Plaintiff has suffered damages as a result of Defendant’s wrongful and
illegal conduct.

WHEREFORE, Plaintiff demands judgment against Defendant for compensatory
and punitive damages.

COUNT Ww - CIVIL THEFT
62. Plaintiff re-asserts paragraphs 2 through 43 as if fully set forth herein.

63. This is an action for civil theft brought pursuant to Chapter 772, Florida

64. Defendant knowingly obtained and used Plaintiff's property with intent to
deprive Plaintiff of his right to the property and the benefit of the property.

65. Defendant knowimgly obtained Plaintiffs property with infent to
appropriate Plaintiff's property to the use of a person not entitled to the use of the
property.

66. Plaintiff suffered damages as result of Defendant’s theft.

67. Pursuant to Fla. Stat. § 772.11(1), Defendant is liable to Plaintiff for treble
the actual damages caused by Defendant’s theft.

68. Pursuant to Fla. Stat. § 772.111), Plaintiff is entitled to recover
reasonable court costs and attorney’s fees from Defendant.

WHEREFORE, Plaintiff demands judgment against Defendant for treble damages

and reasonable court costs and attorney’s fees.

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mistake, Defendant should be estopped from denying that the Assignment was intended
to be a pledge of Plaintiff's interest in the Joint Venture to secure repayment of the Debt.

80. McAuley actively represented to Plaintiff, both before and after execution
of the Assignment, that the Assignment was a pledge of Plaintiff's interest in the Joint
Venture as security for repayment of the Debt.

81. Plaintiff relied on McAuley’s representations in good faith.

82. As a result of said representations and reliance thereon, Plaintift
detrimentally incurred excessive obligations and expenses related to the Joint Venture
Property that he would not have incurred otherwise.

83. Defendant, McAuley’s successor in interest, now asserts that the
Assignment was a complete and unconditional assignment of Plaintiff's interest in the
Joint Venture in satisfaction of the Debt.

84. It would be highly inequitable and unjust to deny Plaintiff's right to his
interest in the Joint Venture.

WHEREFORE, if the Court determines that the Assignment is not invalid as a
matter of law and that the Assignment is not due to be reformed on the basis. of mutual
mistake, Plaintiff demands that Defendant be estopped from asserting that the
Assignment was not a pledge of Plaintiff's interest in the J oint Venture to secure
repayment of the Debt.

COUNT V— UNJUST ENRICHMENT
85. Plaintiff re-asserts paragraphs 2 through 43 as if fully set forth herein.
86. This is an action for damages in excess of the minimum jurisdictional

limits of this Court.

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87. Alternatively, if the Court determines that the Assignment is not invalid as
a matter of jaw, that the Assignment is not due to be reformed on the basis of mutual
mistake, and that the Defendant is not estopped from denying that the Assignment was a
pledge of Plaintiffs interest in the Joint Venture io secure repayment of the Debt,
Defendant has been unjustly enriched by the Assignment.

88. Plaintiff conferred a benefit on McAuley by assigning his interest in the
Joint Venture to McAuley in satisfaction of the Debt.

89. McAuley knew that the value of Plaintiff's interest in the Joint Venture
grossly exceed the amount of the Debt.

90. McAuley accepied the benefit conferred by Plaintiff and Defendant

retained said benefit.

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91. he circumstances are such that it would be inequitable for Defendant to
retain the benefit conferred by Plaintiff without paying fair value for it.

92. Defendant owes Plaintiff damages in the amount by which Defendant has
been unjustly enriched, together with interest from March 24, 2009.

WHEREFORE, if the Court determines that the Assignment 1s not invalid as a
matter of law, that the Assignment is not due to be reformed on the basis of mutual
mistake, and that the Defendant is not estopped from denying that the Assignment was a
pledge of Plaintiffs interest in the Joint Venture to secure repayment of the Debt,
Plaintiff demands damages against Defendant based on its unjust enrichment,

DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury on all issues so triable.

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PERDIDO KEY JOINT VENTURE

SECOND REVISED JOINT VENTURE AGREEMENT

This Revised Joint Venture Agreement (the “Agreement”} is made and
entered into as of the day of _, 1983 by and among each of
the persons whose names and places of residences are set forth in Exhibit
“A” attached hereto (collectively the “Venturers” and individually a
Venturer") and is a revision to the First Revised Joint Venture Agreement
(the “First Revised “Joint Venture Agreement") dated the day of
September, 1981, which was a revision to the original joint venture

agreement {the “Original Joint Venture Agreement") dated the last day of
August, 1981.

 

WITNES SETH:

WHEREAS, Mike McAuley ("McAuley"), J. Patrick Duffy ("Duffy") and
David B. Freeman, LH ("Freeman") {the “Initial Venturers") have
contributed to this Joint Venture {the “Joint Venture") the rights lo
purchase approximately two (2) acres of land (the “Property"), fronting 2713
feet on the Gulf of Mexico and 125.73 feet on Gulf Beach Highway, situated
on Perdido Key in the County of Escambia, State of Florida, which is more
particulary described in Exhibit "B"; and

WHEREAS, the persons who are fisted en Exhibit AAnave provided the

capitalization necessary for the acquisition of the Property and the Property
has been acquired; and

WHEREAS, the First Revised Joint Venture Agreement provided for the

transfer of the Property into another entity for development which the
Venturers no longer desire to occur; and

WHEREAS, the Venturers desire to provide for an exchange
("Exchange’} of the Property for that certain condominium unit (the
“Candominium’) more particularly described in Exhibit "oO",

NOW, THEREFORE, for and in consideration of the mutual covenants
herein contained, the Venturers hereby amend the First Revised Joint
Venture Agreement for the purposes and upon the terms, provisions and

conditions hereinafter set forth.
ARTICLE |

FORMATION; NAME AND OFFICE; PURPOSE AND
PURERS ACOUTSTTION OF FRE PROPERTY

 

Section 1.} Formation. The Joint Venture was formed on the last day
of August, 1981 with the signing of the Original Joint Venture Agreement
under the laws of State of Texas pursuant to the provisions of the Uniform
Partnership Act for the purpose and upon the terms and conditions therein
set forth and was modified and superseded by the First Revised Joint
Venture Agreement which Is modified and superseded by this Agreement.

Section 1.2 Name and Office. The name of the Joint Venture is
Ferdido Key Joint Venture, but may operate and conduct its affairs under
any mame or names deemed appropriate by the Venturers. The principal
place of business in Texas shall be 2001 Bryan Tower, 30th Floor, Dallas,
Texas 75201, or such other place as the Venturers may from time to time
designate. The Managing Venturers (as defined in Section 4.3) may
establish places of business of the Joint Venture when and where required
by the Joint Venture business.

 

EXHIBIT

SECOND REVISED JOINT VENTURE AGREEMENT - Page } a SN

 

 
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Section 1.3 Purpose. The character of the business of the Joint
Venture’ shall be to acquire, own, option, lense, operate, improve and. hold
the Condominium for the personal use of the Venturers as well as an
investment in order to realize income fram rentals as well as from the fuiure
appreciation thereof by resale. The Joint Venture shall have the power to
(i) Exchange the Property for the Condominium pursuant to that certain
Agreement attached hereto as Exhibit "Dp" {the "Condominium Agresament");
(ii) refinance the Condominium; Gii} utilize the proceeds from refinancing of
the Condominium to satisfy the furnishing obligations set forth in the
Condominium Agreement: (iv) pay Twenty’ Gne Thousand Dollars ($21,060.00)
to Ereeman for his efforts in effectuating the Exchange; {(v) develop and
dispose of the Condominium, or any interest therein, as well as to acquire
other assets useful or necessary to the Joint Venture in conducting the
business of acquiring, developing and disposing of the’ Condaminium; (vi)
file and prosecute any and all necessary or appropriate applications or
petitions to governmental authorities, in connection with the use of the
Condominium; Cvii} sell and/or lease all or any: part af the Condominium, at
such times and on such terms and conditions as the Managing Venturers may
determine in accerdance with the Agreement; and (viii) in general, engege in
ali activities and take all actions necessary or appropriate to accomplish the
purposes of the Joint Venture. This Agreement, however, shall be deemed
and construed to create « joint venture for the sole purpose of carrying out
the activities and accomplishing the purposes described in this Article |

Section 1.4 Exchange of the Property. The closing cate for the
Exchange of the Praperty for the Condominium is to occur on or before
January 10, 1984.

 

Section t.5 Term. The term of the Joint Venture commenced upon the
sighing of the Original Joint Venture Agreement and shall continue until all
assets and properties of the Joint Venture are sold or otherwise disposed of
and all proceeds from such disposition shall have been distributed to the
Venturers entitled thereto, or until December 31, 2030 on which date the
Joint Venture shall dissolve, unless sooner dissolved in accerdance with the

Uniform Act upon the occurrence of any of the events of dissolution, as
described in Article VIII.

ARTICLE #1
INTERESTS OF THE VENTURERS

The Venturers shall be those persons named under the caption "Ven-
turers” on Exhibit "A” and shall have interests in the Joint Yeniure in the
percentages set forth opposite their respective names in Exhibit "A". all as
the same may be changed from time to time in accordance with the provisions
of this Agreement and, except as provided herein, no other person shall
become a Venturer or substitute Venturer in the Joint Venture. The term
“interest” as used herein shall mean the interest of the Venturer in the Joint
Venture, including his share of the obligations of the Joint Venture, gains

or fosses from the sale of Joint Venture assets, and profits or losses of the
Joint Venture,

ARTICLE 11!

CAPITAL CONTRIBUTIONS; DEFAULTS

Section 3.1 initial Contribution. All initial capital contributions shall
be required of each Venturer in accordance with the schedule attached
hereto as Exhibit "A".

Section 3.2 Future Contributions.

(a) The Additional Venturers (whe are hereby defined as all
Venturers other than the Initial Venturersi_shall contribute from
time to time such additional capital to the Venture as may he
required te fund the monthly debt servica of the Ventura, to pay
requiar and special assessments relating to the Condominium from

SECOND REVISED JOINT VENTURE AGREEMENT - Page 2

 
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any condominium associations, to pay maintenance expenses, to pay
insurance and taxes and to pay all other expenses incurred in
carrying out the purpose of the Verture. The amount of such
additional capital contributions and the time for their payment shall
be determined by the Venture Managers in their good faith
discretion. The Venture Managers shall provide notice to the
Additiona} Venturers of the amount of such acditional capita!
cantributions at least thirty (30) days before they are due. The
additional capital contributions of each Additional Venturer shall be
equal te his share (determined by reference to Exhibit "A"Y of the
. interests of all Additional Wenturers.

{b) Except as provided in Section 3.2(a) no Additional
Venturer shall have any further obligation ta make additional
capital contributions (or te use its awn credit to obtain such
funds}, unless [i) a majority in interest of the Additional
Venturers have determined that such additional capital
contributions are required, and (if) notice is given to the
Additional Venturers at the address in Section 10.3 of this
Agreement of a call for additional contributions in a specified
aggregate amount. In which case, each Additional Venturer shall
Cwithin thirty (30) days after notice of such call is received) make
an additional cash contribution equal to his share (determined by

reference te Exhibit “A"”) of the interests of all Additional
Yenturers.

Section 3.3 Failure to Make Adcitional Capital Contributions or Other
Default. In the event any Additional Venturer fails to make additional
capital contributions in accordance with the provisions of Section 3.2, the
other Venturers may, but shall not be obligated to, make such capital
contributions on their own behalf and on behalf of the defaulting Venturer in
the amount of the defaulted capital contribution. The defaulting Additional
Venturer shall repay to such other Additional Venturers all sums advanced
by such Venturer on behalf of the defaulting Additional Venturer on or
before thirty (30) days following the cate the advance is made, plus interest
at the rate of fifteen percent (153) per annum. In the event that any
Additional Venturer shall at any time default in his obligations under the
provisions of this Section 3.3, and such default shall continue for a period
of thirty (30} days after the receipt of written notice from the Managing
Venturers to the defaulting Additional Venturer, or in the event any
Venturer is determined to be in substantial default of this Agreement as set
forth in Section 6.8, such defaulting Venturer shall lose all rights with
respect to the Joint Venture. In addition to the foregoing, the Managing
Venturers shall, in addition to the other rights conferred on the Joint
Venture hereunder, have the right to designate a substitute Venturer, whish
may include any Venturer or his Affiliates (Affillates means. any (a)
Venturer, {b) member of the immediate family of amy Venturer, (é) legal
representative of amy Venturer, (d) trustee for the benefit of any Venturer,
Ce) corporation, joint venture, partnership or other business entity of which
a majority of the voting interest fs owned by amy one or more of the
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interest in the Joint Venture for Ten Dollars ($10.00) and the assumption by
such designee of the defaulting Venturer’s unpaid payments. Each Venturer
hereby grants the Managing Venturers, or any of them, with full power of
substitution, an irrevocable, special power of attorney, coupled with an
interest, which shall survive- the death, incompetency or legal disability of
such Venturer, to take all actions necessary to transfer the Interests of
such Venturer in the Joint Venture to such substitute Venturer as shall
acquire his interest in the Joint Venture as provided in this Section should
such Venturer detault in the paymant of his capital centribution.

Section 3.4 Security Interest. Each Venturer hereby grants to the
Venture a security imterest in his interest in the Venture to secure the
performance of such Venturer’s obligations under this Agreement. in the
event that any Venturer shall fail to perform any of its obligations
hereunder, the Venture Managers may, at their option do any one or more of
the following: (i} foreclose the lien created hereby through court
proceedings, Cit) enforce any and all rights and remedies the Venture may

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have under the Uniform Commercial Code of the State of Texas to enforce its
rights under the security interest herein granted, and/or (iif) take any
other action and exercise any and all other rights and remedies which the
Venture may have at law or in equity. Notwithstanding any foraciesurr”,
such defaulting Venturer shall remain liable for any deficiency remaining
after such foreclosure. Each Venturer hereby agrees to execute and deliver
such documents and instruments to evidence the existence of such security
interest as the Managing Venturers shall request.

Section 3.5 Loans to the Joint Venture by Venturers. Any Venturer
may make loans to the Joint Venture in such amounts, on such terms, and
for such purposes as may be from time to time approved by a majority in
interest of the Venturers. By execution of this Agreement each Venturer
consents to the loan by McAuley of Five Thousand Dollars ($5,000.06) to the
Joint Venture evidenced by that certain Promissory Note attached hereto as
"Ee" and the repayment of such loan as set forth in such Promissory Note.

Section 3.6 Return or Withdrawal of Capital Contributions; Distribu-
tions; Loans.

(a) Except 2s provided in Article V or as otherwise ex~
pressly provided in this Agreement, none of the Venturers shall
be entitled to demand a refund or return of any capital contri-
butions nor to withdraw any part of bis capital account nor te
receive any distribution from the Joint Venture.

(6b) The amount of any loan made to the Joint Venture by a
Venturer shall net be considered an increase in such Venturer’s
capital contribution or otherwise a contribution to the Jsint
Venture nor shall the making of such loan entitle such Venturer to
an increased share of the profits or josses or distributions to be
made pursuant to the provisions ef this Agreement or, except

otherwise expressly provided in this Agreement, to any interest
such foan.

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on

Section 3.7 Capital Accounts. A capital account shall be established
for each Wenturer and shall be credited with the amounts of his cash capital
contributions and shall be credited or charged, as the case may be, with his
distributive share of Joint Venture profits or

losses and gains or losses
resulting from the sale of Joint Venture assets.

Distributions to Vanturers

shall be charged against their respective capital accounts. Credits and
charges te capital accounts of the Venturers shall be in eccordance with this
Agreement.

ARTICLE IV

MANAGING VENTURERS

Section 4.1

fay Pre iterraging —verrtorers——strtt —theve-—the—ay tetas
management, operation and control of the business and affairs of
the Joint Venture. Any decision of the Managing Venturers under

the terms of this Agreement shall require the concurrence of enly
two (2) of the Managing Wenturers. ,

(b3 Without limiting Section 4.1(2) and subject to the
authority of a majority in interest of the Additional Venturers, to
limit or amend the following powers: the Managing Venturers shall
have the power to (i) exchange the Property for the Condominium
pursuant to that certain Agreement attached hereto as Exhibit "D"
(the "Condominium Agreement"); (ii) refinance the Condominium;
(ii) utilize the proceeds from refinancing of the Condominium to
satisfy the furnishing obligations set forth in the Condominium
Agreement; (iv) pay Twenty-One Fhousand Dollars ($217,600.00) to
Freeman for fis efforts in effectuating the Exchange; (v) manage
the Condominium: (vt) execute such documents as they may deam
advisable for Joint Venture purpases; [vli} subject to Section 4.2,

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sell, transfer, assign, convey, lease, subjet, morlgage or
otherwise dispose of or deal with all or any part of the
Condominium on such terms as they deem reasonable; {vill} accept,
retain, and transfer legal title to the Condominium” in the
Wenturers’ names, as Trustee, for the benefit of the, Joint Venture
(ix) acquire and maintain insurance for the Condominium, fx}
attempt to rent or cause the Condominium to be rented for weeks
not personally being used by a Venturer; (xi} perform or cause to
be performed the Joint Venture's obligations, and exercise or
cause to be exercised all of the Joint Vanture's rights, under any
agreement to which the Joint Venture or any nominee of the Joint
Venture is a party including, but not limited to, the Condominium
Agreement; and (xii) to perform all other duties and actions
required of the Managing Venturers by this Agreement.

(c) The Managing Venturers may, on bshalf of the Joint
Venture, employ, engage, retain or deal with any person ta act in
such other capacities as the Managing Venturer may determine,
including, without Rmitation, the hiring of any person to perform
services in connection with the operation, management, service,
ieasing, advertising and sale of the Property, provided that in all
such cases services are deemed by the Managing Venturers to be.
advisable and the compensation therefor is reasonable, and
provided, further, that the Managing Venturers shall continug to
ibe primarily responsible for the fulfillment of all of their
obligations pursuant to this Agreement. The Joint Venture shall
reimburse the Managing Venturers for all direct out-of-pocket
expenses incurred on behalf of the Joint, Venture in accordance
herewith. The fact that the Managing Vanturers are employed by,
or are directly on indirectly connected with, any such person or
that it is otherwise an Affiliate shall not prohibit the Managing
Wenturers from employing or otherwise dealing with such person.

(d} In connection with any refinancing or new financing of
any mortgage on the Condominium, the Managing Venturers are
specifically authorized, in’ their sole discretion, to appoint any
Affiliate of any Venturer to act as the broker, exclusive or
non-exclusive, far the Joint Venture.

(e} The Managing Venturers are autherized on behalf of the
Joint Venture to execute any contract, note or mortgage. dead of
trust er any modification thereof in connection with the Exchange
or the refinancing of the Condominium anc to execute any required
security agreements with respect to tangible or personal property
of other property owned by the Joint Venture, and any other
documents which may be required in connection with such
Exchange or refinancing, or any modifications thereof, or any
documents which may be required at the closings thereof or in
connection with the closing of mortgage loans providing financing
ore refinancing for the Condominium, including, without lienitation,
easements, cross-easements, reservations, rights-of-way or other
Sneumbrances on alt or portions or the property perteimng te etre:
Condominium in order to satisfy the lending institution or
institutions which grant mortgage financing for the Condaminium,

ail without the requirement that all the Venturers, or any of them,
consent thereto.

({) During the continuation of the Joint Venture, the
Managing Venturers or any other Venturer may acquire, promote,
develop, operate and manage real property on his or their own
behalf or on behalf eof any Affiliates thereof. The Managing
Venturers and any Affiliates, may, notwithstanding the existence
of this Agreement, engage in any activities they choose, whether
the seme are competitive with the Joint Venture or otherwise,
without having or incurring any obligation to offer any interest in
such activities to the Joint Venture or any party hereto. Neither
this Agreement nor any activity undertaken pursuant hereto shall
prevent the Managing Venturers or any Affiliates thereof from
engaging in such activities, or require such Managing Venturers to

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permit the Joint Venture or any other Venturer to participate in
such activities, and, as a material part of the consideration for the
Managing Wenturers'’ execution hereof, each Venturer hereby
waives, relinguishes and ranounces any such right or claim of
participation.

(g} The Managing Venturers are authorized. to expand Joint
Venture funds, in their management capacity, as are necessary to
carry out the purposes of the Venture.

Section 4.2 Restrictions. Notwithstanding the provisions of Section 4.1
above and except as elsewhere otherwise exprassily previded in this
Agreement, subsequent io the Exchange (and financing thereof) the
Managing Vernturers agree not to sell, transfer, assign, convey or otherwise
dispose of all or substantially ail of the assets of the Joint Venture without
the written consent of a majority in interest of the Additional Venturers.
Further, the authority and power granted pursuant te section 4.3 may be
limited, amended ar revoked by action of a majority in interest of the
Additional Wenturers. Each Venturer by execution of this Agreement

consents to the Exchange pursuant to the terms of the Condominium
Agreement. Lo, :

 

“Section 4.3 Appointment, Replacement, and Compensation of the Man-
aging Venturer.

(a) McAuley, Duffy and Freeman shall be and are hereby
appointed the Managing Veniurers of the Joint Venture. In the
event any person ceases to act as the Managing Wenturer, or his
appointment as Managing Venturer is terminated by agreement of
eighty percent (80%) in interest of the Additional Venturers, the
Venturers shall appoint a successor Managing Venturer by a yote
of a majority in interest of the Venturers;

(b) The Managing Venturers shall be oebligated to perform
without consideration except as otherwise provided in Section 4.5;
and

{c) During the continuance of the Joint Venture, the Men-
aging Venturers shall diligently and faithfully devote stich time to
the management of the business of the Joint Venture as may be
necessary to conduct it for the greatest advantage of the Joint
Venture and the Managing Wenturers shal} render to all Venturers,
whenever reasonably requested by at least a majority im interest of
the Additional Wenturers, a just and faithful account of ail
dealings and transactions jo relation to the business of the Joint
Venture.

(d} The Managing Venturers shail, upon receipt thereof from
the holder of any Joint Venture loan or debt, give prompt notice
with all relevant particulars then knewn by the Managing
Venturers to all Venturers of any alleged notice of default of the
JolndVectiureonany offer in connection with any proposed sale or
disposition of all or substantially all of the rights to the
Condominium, other than in the ordinary course of the Joint
Venture’s business.

Section 4.4 ‘Liability: |ndemnification. The Managing Venturers, or
any one of them, shall not be liable to the Joint Venture for any act or
omission pearfarmed or omitted by any one of thers pursuant to the authority
granted to him by this Agreement, other than for his breach of any of his
obligations under this Agreement, fraud, bad faith, willful malfeasance or
gross negligence, Each Managing Venturer shall and hereby does indemnify |
and save harmless the Joint Venture and each of the Venturers from any
loss, damage, claim or liability, including but not Hmited to reasonable
attorneys’ fees and expenses, due ta or arising out of breach of any of his
obligations under this Agreement, fraud, bad faith, willful malfeasance or
gross negtigence. The Joint Venture shall and hereby does indemnify and
save harmless each Managing Venturer from any loss, damage, claim: or
liability, including but not (imited to reasonable attorneys’ fees and

 

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expenses, incurred by him by reason of any act perfarmed by him en behalt
of the Joint Venture or in furtherance of the Joint Venture'’s interest other
than for breach of any of his obligations under 4

his Agreement, fraud, bad
faith, willful malfeasance or gross negligence, provided however, that the
indemnity and save harml

ass previded for in this sentence shall be satistred
out of Joint Venture as

sets only and no Venturer shall have any personal
liability om account thereof. .

 

Section 4.5 Fees. [n no event shall any of the Managing Venturers
receive a fee for services rendered te the Venture except that they may
receive reimbursement for actual out-of-pocket expenses and except for the
providing of services-as a rsal estate broker in the sale of the Condominium,
so jong as the tetal for such brokerage services does not exceed that which
is customary in the area where the Condominium is focated. Freeman shall
receive Ywenty-Qne Thousand Dollars ($21,000.00) as a reel estate
commission for his efforts in effectuating the Exchange. The Joint Venture
has advanced Five Thousand Dollars ($5,000.60) to Freeman in partial
satisfaction of such commission. Upon the closing of the Exchange the Joint
Venture will deliver the remaining Sixteen Thousand Dollars ($16,000.00) of
such commission to Freeman. If for any reason the Exchange shall fail te
occur on or before January 10, 1984, Freeman shall return the Five

Thousand Dollers (85,000) to the Joint Venture within one (C1) day after
such date.

Section 4.6 Power of Attorney. Each Venturer hereby grants Mike
McAuley, with full power of substitution, an irrevocable, special power of
aitorney, coupled with any interest, which shall survive the death, incorm-~
petency or legal disability of such Venturer to:

(a) Execute and deliver all such documents and instruments
as are necessary to effectuate the Exchange, inctuding, but not
limited te, the Condominium Agreement; and

(b} Execute and deliver all such documents as are necessary

ta effectuate the refinancing ef the Condominium, including, but
not limited to, a promissary note and a deed of trust.

ARTICLE V

ACCOUNTING AND DISTRIBUTIONS

 

Section 5.1 Tax Status. Any provision hereof to the contrary
notwithstanding solely for United States tedera] income tax purposes,
each of the Venturers hereby recognizes that the Joint Venture will be
subject to all provisions of Subchapter K of Chapter j of Subtitle A of
the Wnited States Internal Revenue Code of 1954, as amended [the
"Code"}; provided, however, the filing of U.S. Partnership Returns of
Income shail not be construed to extend the purposes of the Joint
Venture or expand the obligations or liabilities of the YVernturers.
McAuley is hereby designated as the “Tax Matters Partner” for tha

Partrerstip; as thet Heer eet a $e Sth SPiLuof the Code

Section 3.2 Allocations Relating io Joint Venture Operations.
Srom and after the date hereof, all income, gains, losses, deductions
and credits resulting ‘from the operations af the Joint Venture shall be
allocated to the Verturers inthe same ratio (not taking into account the
distributions for repayment of loans to the Venture} in which cash is
distributed pursuant to Section 5.3.

Section 5.3 Distributions te the Venturers.

(a) The Cash Flow (used herein to mean the excess of cash
receipts over cash expenditures} and Capital Receipts (used herein
to mean the net cash proceeds (after payment of, or due provision
for, ail recourse fiahilities ta creditors of the Wenture) from (1)
any financing or refinancings (from time to time} of any
indebtedness of the Venture, (2) the sale, lease or rental of the
Condominium, or any portion thereof, (3) the condemnation of or

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the taking by power of eminent domain of the Condominium or any
portion thereof, or (4) title or fire and extended coverage
insurance an the Condominium (provided, however, that any
proreeds received from any condemnation or taking by. eminent
domain or title or fire and extended coverage may be subject to
the requirements of creditors of the Joint Venture); of the Joint
Venture shall be distributed among the Venturers as follows :

(i) To the repayment of any loans made to the
Joint Venture by the Venturers.

Ci) Next, to the Additional Venturers proportion-
ately im the ameunts and to the extent of their
respective capital contributions.

(iii) Thereafter, any remaining amounts shail be
distributed to the Vanturers in accordance with their
percentages as reflected on Exhibit nA,

(b} Distributions received by the Joint Wernture shall be
distributed to the Venturers pursuant to subparagraph (a} above
within thirty (30) days after receipt by the Joint Venture, Gr at
such eariier time or times as the Venturers may deem appropriate.

{c) No interest snail be paid to any Venturer on any amount
im his capital account.

Section 5.4 Accounting

(a) A separete capital zcoount shall be maintained for each
Venturer in accordance with Section 3.7.

{6} The books of account and records shall be maintained
using the accrual method of accounting, with respect to the Joint
Venture’s business and financial affairs, which shall be subject to
inspection by the Venturers in accordance with law.

(c) The Managing Venturers shall cause annual financial
stetements of the Joint Venture to be prepared and sent to the

Venturers' not later than sixty (60) days after the close of each
Fiscal Year.

(d) The Managing Venturers shall prepare or cause to be
prepared ell tax returns and statements, if any, which must be
filed on behalf of the Joint Venture with any taxing authority,
including U.S. Partnership Returns of Income, and shall submit
such ratutns and statements to all the Venturers for their
approval prior to filing, and, upon, approval therest by all the
VWenturers, make timely filing thereof.

(e} Each Venturer shall have the right at his own expense,
Limself—or—throwch his authocizad agents. at all reasonable times
during usual business hours to audit, examine, and make copies of
or extracts from the books of account ef the Joint Venture.

ARTICLE VI

USE OF THE CONDOMINIUM

Section 6-1 Venturers Rights in the Property. Each Venturer and
Griffin [as defined in Section Foitdj\)] shall have the exclusive right to
occupy the Property and/or to authorize others to do so for two (2) weeks
in each year, subject te the rights reserved in this Agreement and subject
to the easements and rights reserved by the seller of the Condominium in
the Condominium Agreement, the Condominium Declaration relating %o the
Condominium or in any other document to which the Condominium is, or
becomes veubject’ ("Condominium instruments”), The right to enjoy the
common elements of the complex (the “Condeminium Complex") surrounding

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the Condominium shall be subject to the rights of other owners of other
Condominium units or other portions of such complex and shall be subject to

any rights reserved in instruments. of resord prior to the date of this
Agreement. :

Section 6.2 Scheduling of Use Weeks. On or before August 15 of each
year, each Venturer and Griffin. shall advise the Managing Venturers which
get of use weeks ("Use Weeks" or singularly “Use Week") he desires to have
during the twelve (12) months commencing with October 1 of that year. The
Venture Managers shall use their best efforts to provide each Venturer and
Griffin the Use Weeks he requests, however, the final determination of which
Use Weeks are used by a Verturer and Griffin shall be determined by the
Managing Venturers in their sole discretion, the Managing Wenturers shall
notify the Venturers and Griffin of the Use Week schedule on or before
September 15 of each year. All notices to Griffin shall be made as set_forth
in Section 10,1 to 702 Greenwood, Fair Hops, Alabama 36532 or such other
address as Griffin may designate.

Section 6.3 Period of a Use Week. Each Use Week shall

noon of the first date of the Use Week and shal!
day of the Use Week.

commence at
expire at noon on the fast

Section 6.4 Furnishings. All furniture, appliances, housewares,
decorations, window treatments {collectively Eurnishings} shall be the
property of the Venture. The Manager Venturers shail have the right and
obligation to maintain, repair, alter, sell and replace by purchase or lease
such Furnishings in such manner as the Managing Venturers in their sole
discretion deem appropriate. All expenses incurred by the Managing
Venturers pursuant to this Section 6.4 shall be expenses of the Venture.

Section 6.5 Restrictions on Use of the Property. Each Venturer and
Griffin shall comply with the fellowing restrictions:

(a) All restrictions in the Condominium Instruments.

(b) Each Venturer_and Griffin shall be responsible during
his respective Use Weeks, whether occupied by the Venturer,
Griffin or their respective authorized guests ("Guests"), for
keeping the Condominium in good condition and repair and for the
Condominium being in good and sanitary condition upon the
conclusion of such Use Week.

(c}) Each Venturer, Griffin_and their respective Guests shall
vacate the Property at the expiration of each Use Week in
compliance with the checkout times and other procedures as set
forth herein and as may from time to time be prescribed by tne
Managing Wenturers. Failure to vacate the premises in a. timely

manner shall give rise to fines and other actions as set farth in
this Agreement.

(d} Each Venturer and. Gritfin shall be responsible during
his respecuyve Use Weeks, whetner tne Condon is—eceaptecd trey
the Venturer, Griffinor their respective Guests, for maintaining
the Furnishings in good condition and rapair and shali not remove
them from the Condominium Unit nor shall such Venture
‘or «their cespactive Guests make any alteration, improvement,
replacement or other change in such Furnishings. An inventory of
Furnishings may be conducted upon check out at the end of each
Use Week by a person designated by the Managing Venturers. All
missing items or damage to items shall ba charged to the Venturer
or Griffin who was scheduled to use such Use Week,
notwithstanding the fact that the Property was occupied by Guests _
of the Venturer or of Griffin.

cr, Griffin.

(2) No noxious or offensive activity shail be carried on at
the Condominium or Condominium Complex ner shall anything be
done or placed in the Condominium Unit or upon any other portion
of the Condominium which in the sole discretion of the Managing
Venturers, interferes with or jeopardizes the enjoyment of other

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Venturers, (Griffin er owners of ofher Condominium Units or of
other portions of the Condominium Complex, or which is a source

of annoyance te other Venturers, Griffin or other condominium

owners in the Condominium Camplex. Whe at the Condominium

Complex, the Wenturers, Griffin and their respective Guests shall
exercise extreme care not to make noise which may disturb other
condominium unit occupants in the Cendominium Complex. No
unlawful use shall be made of the Condominium Complex nor any
part thereof, and ali valid laws, zoning ordinances and regulations

of alf gavernmentai bodies having jurisdiction thereof shall be
observed.

(€) Nothing shall be done or kept in the Condominium which
will increase the cost of insurance om the Condominium without
prior approval of the Managing Wenturers. Each Venturer ane

_Griffin. shall prevent the occurrence of any activities or the
keeping of anything in the Condominium Unit during his respective
Use Weeks or at the Condominium Complex which will result in a

cancellation of insurance on the Condominium Complex

or any
portion therecf,

{go} Neither Griffin, mor any Venturer other than the
Managing Venturers nor any Guests shall have the authority to nor
shall any they make any changes in the interior decor of the
Cendominium Unit or any other alteration or improvement in tha
Condominium Unit or the Condominium Complex. The right ta make
such changes, alterations, improvamants is vested in the Managing

Venturers and is subject to any restrictions In the Condominium
Instruments.

(h] No Venturer, Griffin or any respective Guests thereof
shall at anytime allow any pets in the Condominium.

 

Section 6.6 Condominium Association. The Managing Wenturers shall
determine which, if any, condominium associations the Venture shall belong
and the Managing Venturers shail, represent the Venturers in such
association. The Managing Venturers shall cast afl votes allocated to the
Condominium Unit or allocated to the Venture as the owner thereof, in the
manner determined by them to 5¢ in the best interests of the Venture. The
Venturers hereby agree to be bound by such votes and in the event that
the power provided ta the Managing Venturers herein is deemed to be a
proxy, expressly agree that such proxy shail extend for the term of the
Venture which may exceed eleven (31) months.

Section 6.7 Failure to Observe Covenants. In the event any Venturer,
Griffin, or their respective Guests shall violate any section of this Article
Vi, the Venture acting through the Managing Venturers shall notify such
Venturer, or Griffin, as the case mey be, jn writing that the violations exist

and may then:

{a} temporarily racuce the length of Use Weeks
Humber thereSty enc or

or the

{b) Impose fines or other sanctions upen the Venturer or
_Griffin as the Managing Venturers deem appropriate. Such fines
may be used to offset costs ef the Wenture related 6 such
violations, such as the cost of renting acccmmodations for another
Venturer,_—Griffin or their raspective Guests if sucn violator does
not promptly vacate the Condeminium and the balance shall be paid
into such funds as the Managing Venturers shall determine.

Section 6.8 Substantial Default.

(a) In the event the Venture Managers in their sole
Ciscretion determine that any violation of any Section ef this
Article Vi, is substantia) and such vioiation shall continue for a
period of fifteen (15) days atter written notice from the Managing
Wenturers is provided to the defaulting Venturer of the sama, in
addition to being personally liable; such defaulting Venturer shall

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become an inactive Venturer ard during the continuance of sucn
default shall lose all rights with respect to the Venture including,
but not limited to, the right to secupy the Condominium during
such Venturer’s Use Weeks during such period of default and such
interest shall be sold as seat forth in Section 3.3.

{b) In the event the Venture Managers in their sole !
discretion determine that any violation of any section of this j
Article VI by Griffin is substantial and such violation shall |
continue for a period of fifteen (15) days efter written notice from |
the Managing Venturers is provided to Griffin of the same, in \
addition to being personally liable; Griffin shalt permanently jose |
all rights to have any Use Weeks and correspondingly shall lese all |
rights to occupy the Condominium. “

Section 6.9 Condemnation. If any portion of the Condominium Complex
is made the subject matter of any condemnation or eaminant demain proceeding
or is otherwise sought to be acquired by a condemning authority, notice of
the proceeding shall be given to each Venturer by the Managing Venturers
within fen (10) days after such Managing Venturers receive knowledge
thereof. The Managing Wenturers shall represent the Wenture in any
condemnation proceeding or negotiations, settlements, and agreements with
the condemning authority for acquisition of any portion of the Condominium
Complex and are hereby appointed as the atlorney-in-fact for such purposes
and for handling the proceeds therecf. If such condemnation is deemed by
the Managing Vanturers to substantially destroy the purpose of the Venture
then the Venture shall be dissolved as set forth in Article IX, otherwise the
proceeds of such proceeding shall be utilized for the benefit of the Venture
in accordance with this Agreement or distributed as set forth in Section 5.3.

Saction 6.10 Damage or Destruction. if any portion of the
Candominium Complex is substantially destroyed or damaged,

notice shall be
given to each Venturer. [Sf such destruction or damage is deemed by the

Managing Venturers to substantially destroy the purpose of the Venture the
Venture shall be dissolved as set forth in Article Ix, otherwise the
insurance proceeds, if any, shall be utilized for the benefit of the Verture
in accordance with this Agreement or distributed as set forth in Section 5.3.

ARTICLE Vil
TRANSFER OF A JOINT VENTURE INTEREST
Section 7.1 Assignment, General Conditions:

(a) Except as set forth in Article VI and as herein expressly
provided, the interest of a Venturer in the Joint Venture may not
be assigned, sold, transferred, hypothecated or otherwise disposed
of without the prior written consent of sixty percent (60%) in
interest of the Wenturers. Upon the default of a Venturer to make
additional capital contributions, the defaulting Venturer's
sre—gnverned by Section tes he
Unanimous consent of the Venturers. in the case of any assign-
ment, sale, transfer, hypothecation or other disposal of an interest
of a Venturer, in violation of this Article, the Joint Venture shall

~be entitled to treat the Venturer or the racipient of his Venture
interest or both, as the-absolute owner of such partions of such
interest in the Venture as the Managing Venturers determine and

shail incur no liability for distributions made in good faith to such
VWanturer or to such recipient.

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(b) Yhe admission of any persen or entity as a substituted
Venturer pursuant to this Section 7.1 (whether by assignment or
otherwise) shall be conditioned upon fi) the above-described
foregoing consent of the Venturer(s}) to such admission, (i) the
substituted Venturer'’s written acceptance and adoption of all of
the terms and provisions of this Agreement, and (Hi) the substi-
tuted Venturer's paying or obligating himself to pay all reasonable
expenses connected with such admission. The substitutiar of a

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Venturer shall not terminate the Joint Venture, but the Joint
Venture shail survive and continue as such.

(c} As a part of any purchase by any Venturer of the
interest of the other Venturer hereunder at the time of closing oF
such purchase, and as a condition to the consummation thereof,
the acquiring Venturer shall cause the selling Venturer to be fully
and completely relieved and released from any and all liability with
respect to all debts, obligations and liabilities of the Jaint
Venture. In the event that the acquiring Venturer ts unable to
obtain any such release, then the sequiring Vanturer shall agree
to fully indemnify and hoid the selling Venturer
such liability. No transfer of the interest of amy Venturer in the
Joint Venture shall affect the right of such Venturer to be repaid

for all joans previously made fo the Joint Venture,
otherwise agreed upon.

harmless from

unless

(d) Notwithstanding anything to the contrary, the Venturers
hereby acknowledge and approve the assignment by Freeman of |
twenty-five percent (25%) af Ereeman's interest tn the Venture toa
Robert Griffin ("Griffin") and acknowledge and approve the grant
py the Venture (sublact to Article Wt} of two (2) Use Weeks per |
year to Griffin whish are in addition to the two (2) Use Weeks per [
year attributable to Freaman as a Venturer. Griffin shall have no
voting rights with raspect to the Venture, however, the Venture
shall be antitled to treat Griffin as the assignee of twenty-five
percent (25%) of Freeman's interest in the Venture and the
Venture shall incur no liability for Gistributions or payments made
te Griffin in recagnition of such assignment.

Section 7.2 Right of First Refusal

(a) In the evant that any Venturer (the "Selling Venturer’)
shall desire to sell all or. amy portion of its interest in the Joint
Venture to any third party and it shall have received a bona fide
written offer therefor which ts acceptable to it, it shall, not less
than ten (10) days prior to the date of the proposed sale, give
notice (the “Notice of Sale") to the other Wenturers (the “Remain-
ing Wenturers"). The Notice of Sale shall state that a bona fide
offer has been received by the Selling Venturer from such third
party and shall contain the following information: (i) The portion
of the Selling Venturer’s interest in the Joint Wenture offered for
sale; €ii} The price, terms and conditions of sale: and (iii) The
name and address of the third party to whom such interest is
proposed to be sold. The Notice of Sale shall further contain an
affirmative offer by the Selling Venturer to sell its interest in the
Joint Venture or the portion thereof offered for sale, to the
Remaining Yenturers for the same consideration and upon the same
terms and conditions set forth in the Netice of Sale, ,

(b) The RSemaining Venturers shail have the option, for a
pertod or tenn ft} dayrntrom the dat of—sish—Netice of Sala
within which to exercise their opticn to purchase the Selling
Venturer’s interest. In the evant the Remaining Venturers elect
to acquire the Selling Venturer’s interest, they shall notify such
Selling Venturer of such electian in writing prior to the expiration
of the ten-day period, ~The closing shall take place at the offices
of the Joint Venture at such time, mot later than thirty (40) days
after the expiration cf the option period, as the Selling Venturer
und the Remaining Wenturers may agree to in writing.

(c) In the event that the Remaining Partners exercise their
aption to purchase, in the aggregate, jess than the entire interest
ot the Selling Venturer which was offered for sale, the Selling
Venturer shell have the right to sell such interest strictly in
accordance with the terms of the Notice of Sate. ‘lf no such sale
is made within thirty (39) days following the exptration of the
option period, a new Notice of Sale shall be required | the

in
manner provided hereinbefore.

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Section 7.3 Buy-Sell Agreement

(a) In the event that any Venturer or WVenturers (the
“Offering Verturers"}, who are not in default in tts abligations
under this Agreement, is at any time willing to make an offer to
any of the other Venturers or Venturer (the “Remaining
Venturers”) to purchase their interest in the Joint Venture, the
Offering Venturers shall notify the Remaining Venturers in writing
of their desire to do so, designating in such notice the price at
which their will either sell their interest in the Joint Venture or
buy the interest of the Remaining Venturers. Such price shall be
stated in terms of the price attributable to one hundred percent
(100%} of the Joint Venture, and in making the cetermination of
such price, al] cutstanding loans made by Venturers to the Joint
Venture shall be included in the computation and such loans shall
be retired upon the consummation of the sale, either by payment
to the Venturer who made the loan in the event it is a Selling
Venturer, or by giving it @ credit on the price in the event it is a
purchasing Venturer. The Offering Venturers shall then be
obligated either: (i) to purchase the interest of the Remaining
Venturers in the Joint Venture at a price equal te the 100% price
referred to above multiplied by the percentage interest of the
Remaining Venturer’ in the Joint Venture; or {ii} to’selj to the
Remaining Venturers the Offering Venturers’ interest in the Joint
Yenture at a price equal to the 100% price referred to above
multiplied by the Offering Venturers’ percentage interest in the
Joint Venture, The Notice shall specify ths portion of the purchase
price to be payable in cash and the terms amd conditions with
respect to the balance of the consideration. Qn or before ten (10)
days from the date of the receipt of such notice the Remaining
Venturers shall notify the Offering Venturers Vf they desire to
purchase the interast in the Joint Venture of the Offering
Venturers or sei] the Remaining Venturers’ interest in the Joint
Venture upon the terms and conditions set forth In such notice.
lf no such notice is provided the Offering Venturers shalt
purchase the Remaining Venturer’s interest in the Joint Venture
upon the terms and conditions set forth in the original notice
given by the Offering Venturers.

(c) Any sale and purchase of an interest in the Joint
Venture in accordance with the provisions of this Section 7.3 shall
be closed on the tenth (i0th) day after the determination of which
of the Venturers is ta purchase in the interest of the other in the
Joint Venture as above provided (in the event that such tenth day
is & Saturday, Sunday or other business holiday, then such
closing shall take place on the next succeeding business day) and
all requisite documents, instruments and papurs shall be signed at
the office of the Joint Wenture on the day fixed for such closing.
All expenses and fees, including Jegal fees, imcurred in connection
with any such closing shall be paid equally by the selling and
purchasing Venturer.

Section 7.4 Failure to Close. in the event the Selling Venturer or the
Remaining Venturers shall, by operation of the provisions of Section 7.2 or
7.3 have acquired the right to purchase a Venturer’s interest and shall fail
to close such purchase and salé within the time period provided in Section
7.2(b) or 7.3€c} the Venturer whose Joint Venture interest was to be sold
shall have the right to acquire the other Joint Venture interests upon the
same terms and conditions as he would have been required to sell his Joint
Venture interest: provided, however, thea purchase price for such. Joint
Venture interest shall be reduced by forty percent (40%),

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ARTICLE Vili

DEATH OF A VENTURER

Section 8.1 Obligation te Offer and Purchase. Upon the death of a
Venturer, his estate is hereby obligated to offer the Deceased Wenturer’s
Interest to the Joint Venture and the Joint Venture shall have the option to
purchase such interest from the estate of the Deceased Venturer at the value
(hereinafter "Purchase Price") determined pursuant to an indepencent
appraisal of the assets of the Joint Venture by an independent appraiser
selected, by the Venture Managers (the cost of which shall be borne by the
Estate) as of the date of death. Such option shall terminate i the Joint
Venture fails to provide notice to the estate cf such Deceased Venturer
within six (6) months after the Jaint Venture receives actual notice of the

death of such Deceased Venturer, of the Joint YVerture’s desire to exercise
such option.

Section B.2 Payment. Twenty-nine percent (28%) of the Purchase Price
shall be paid te the estate of the Deceased Venturer ir cash within 270 days
after the date of the death of the Deceased Venturer. ‘The remainder of the
Purchase Price shall be paid in five annual installments, the first of which
shall be due and payable one year and nine months following the date of the
Deceased Venturer's death. The first such payment shall be the greater -°
twenty percent (20%) of the remaining unpaid Purchase Price or any
remaining life insurance proceeds not previously utilized to make the first
payment to the astate of the Deceased Veniurer within 270 days after his
death. The remaining four annual installments shail be in equal amounts.
To evidence the indebtedness and the obligations to pay the five annual
installments of the Purchase Price, tha Joint Venture shall execute and
deliver unto the Deceased Venturer's administrator, executor or personal
representative, a note payable which shall reflect the above described
payment terms. Further, the note shal! provide for interest to be paid at
the rate of ten percent (10%). Such interest shall be paid annually as it~”

accrued and shall be due and payable upon the dates prescribed for the
payment of principal.

 

Secticn 8.3 Adjustment to Capital Accounts and [tnterests in Joint Ven-
ture Profits. The amount of the Purchase Price shall first be charged or
debited to the Capital Account of the deceased Venturer and after such
Capital Acceunt shall be reduced to zero, such payments shall be chargeca or
debited to the Capital Accounts of the surviving VWenturers in the ratios
which their respective interests in the Jaint Venture bear to the total of all
such surviving Wenturers’ interests in the Joint Venture as defined in
Article Ii. The interest in the Joint Venture of a deceased Venturer shall,
be allocated to the surviving Ventucers in the ratios which their respective
interests in the Joint Venture beer to the total of all
surviving Venturers’ interests in the Joint Venture.

 

such remaining or

ARTICLE 1X

DOTSSOLITORC AND TERIMIBACT TON, GE FHE PORT VERT
WINDING UP, LIQUIDATION AND DISTRIBUTION ON
TERMINATION

as
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“Section 9.1 Gissolution. The Joint Yenture shall

dissolve upon the
oecurrence of any of the following events:

(a) Upon the sale by the Joint Venture of ail of the assets
of the Joint Venture.

‘(b) Upon the agreement of all the Venturers.

{c} Upon the condemnation of the Condominium Complex or a
portion thereot, which as set forth in Saction 6.9,
Venturers deem to substantially destroy
Venture.

the Managing
the purpose of the

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(¢d} Upon the substantial destruction er substuutial damage to
the Condominium Complex, which as set forth in Section 6.10, the

Managing Ventures deem to substantially destroy the purpose of
the Venture. .

(e) Upon the happening of any of the following events:-

Gy} A decree or order by a court of competent
jurisdiction shall be entered either:

A. issuing an order for rellef of a Venturer
or appreving a petition seeking an arrangement of
the debts cf a Venturer under the Gankruptcy

Reforrn Act of any other similar applicable federal
statute or state Jaw, ar

B. appointing a receiver or trustee or
assignee in bankruptcy or insolvency of a Venturer
or a receiver of all or any substantia! portion. of its
property;

and any such decree or order shall be continued in force

-undischarged or unstayed for a period of sixty (60)
days; or : .

(ii) A Venturer shall:

A. imstitute proceeding requesting an order
for relief under the Bankruptcy Reform Act or file
a petition or answer or consent seeking arrangement
under the Sankruptcy Reform Act or any other
similar applicabie federal or state law, or consent to
the filing of any such petition, or

BR. consent te the appointment of a receiver
or trustee or assignee in bankruptcy or insolvency
of it or for any or all of substantially all of its
property or make a general ussignment for the
banefit of creditors, or admit in writing jis inability
to pay its debts generally as they become due, ar

Cc. dissolve, merge with or into another
entity, or otherwise fail to maintain its corporate or
trust existence (as the case may be); provided that
in such case the non-affected Venturer may elect
by written notice to the affected Venturer within
twenty (20) days after receipt of .notice of the
eorcurrence of such event to continue the existence
of the Joint Venture, in which event the successor
in interest to the affected Venturer shall thereupon
succeed ta its interest in the Joint Venture, subject
tea the orpvisions of subsection 7.2{b) heretofore.

(f) Upon the death of any Venturer.

(g) Upon the occurrence of any of the events described in
Section 9,1(e) with resoect to the Joint Venture.
Section 9.2 Right to Continue

(a) [f dissolution occurs pursuant te Section 9.i(e} or
Section 9,1(f}, the remaining non-affected Venturers shall have
the right to continue the Joint Venture business under the same
name, by themselves or with any other person or persons they

may select. if the remaining Venturers desire to continue the
business, but not together, the Joint Venture shall be liquidated
as set forth in Section 9.3. It shall be assumed that the Joint

Venture business is being continued by the remaining non-affected

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Venturers unless a liquidating trustee is named within a reasonable
time by the Venturers as set forth in Section 9.3.

(b) Ho the remsining non-affected Verturers continue the
Joint Venture business as set forth in Section G.2(a), they shall
pay to the other Venturer or his legal representatives, the value
of his Joint Venture interest as of the date of dissolution
determined pursuant to Article VII] as if such Wenturer had died
on the date of dissolution and such payment shall be made in the
manner set forth in Article VII.

Section 9.3 Winging Up and Liquidation

(a} Upon the dissolution of the Joint Venture by agreemant
. of the Wenturers, or otherwise, in accordance with this Agreement
if the remaining Venturers do not continue the Joint Venture as
set forth in Section 9.2, its business shall be wound up and
liquidated as rapidly as business circumstances will permit, and
the liquidation and winding up of the Joint Venture shall bu
handled by. a liquidating trustee, who shall be pamed by the
Venturers acting jointly, unless dissolution takes place under
Section 93.1(e) or (Cf) of this Agresment, in which case the
liquidating trustee shall be determined by the non-affected
Venturers. In the event such Jiquidating trustee shall fail or
refuse to act, or shall cease or be unable to serve as liquidating
trustee, or in the event the parties cannot agree on 4 liquidating
trustee, then the Haquidating trustee shall be I[nterFirst Bank
Dallas, N.A., Dellas, Texas. The winding up and liquidation shall
consist of the use, application and distribution of the assets and
properties of the Joint Venture as provided hereinbelow
paragraph (d) of this Section 9.2, and at its conclusion
Venture will terminate,

in
the Joint

(6) The liquidating trustee, whether original or successor,
individual or corporate, shall not be liable for any action taken or
omitted in its capacity as liquidating trustee hereunder except for
its own gross negligence or willful misconduct.

{c} Any corporate liquidating trustee shall be entitled te
reasonable compensation commensurate with the duties and ra-
sponsibilities involved, but no individual trustee shail receive
compensation for his services unless expressly approved by the
Venturers selecting such trustee.

(ad) All of the assets of the Joint Venture, including, but
without limitation, the proceeds of sales, if any, of the Joint
Venture Property or any portion thereof, and 2 other cash and
property, if any, then on hand in the Joint Venture shall, subject
to the provisions of Section 9.2 hereof, be applied as provided in

 

Section 3.3.
ARTICLE X
GENERAL
Section 10.1 Wotices.. Any notica to be given or to be served upon

any party hereto, in connection with this Agreement, must be in writing,
and may be effected by personal delivery or by registered or certified mail
to the parties hereto at the addresses set forth on Exhfbit "A". Any party
may change his or its address by written notice in accordance with this
Section. Notices delivered personally shall be deemed communicated when
signed for at the address provided herein >y a reprasentative of the party
fear whom such notice is being give. Matled notices shall be deemed
communicated three (3) days after mailing with prepaid postage.

Section 10.2 Amendment. Except as otherwise stated in this Agree-

ment, this Agreement may only be amended or modified with the written
consent of the Venturers. :

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Section 10.3 Integration. This Agreement, including exhibits hereto,
constitutes the entire agreement among the parties pertaining to the subject
matter hereof and supersedes all prior or contemporaneous agreements and
understandings of the parties in connection therewith. No covenant, repre-
sentation, or condition not expressed in this Agreement shall be binding
upon the parties hereto or shall affect or be effective to interpret, change
or restrict the provisions of this Agreement. No change, termination, or

attempted waiver of any of the provisions hereof shall be binding unless in
writing signed by all Venturers.

Section 10.4 Partition. Having previously been adviser of their
respective rights to bring an action for partition, aach of the Venturers
hereby irrevocably waives for the duration of this Agreament any and all
rights that it may have to maintain an action for partition with respect to
such party's interest in the Property or to compel any sale thereof under
the Statutes of the State of Texas, or any amendment thereof. In connec-
tion with the foregoing, the Venturars acknowledge and agree that each of
them has been induced to enter into this Agreement in reliance on the
aforementioned waiver and warranty of the other, and without such waiver
no Venturer would have entered into this Agreement. No Venturer has any
interest in specific Joint Venture property but the interests of the Venturers
in the Joint Venture are, for purpeses of partnership and

property jaw,
personal property.

 

Section 10.5 Headings. Descriptive headings are for convenience only
and shall not control or affect the meaning or construction of any pravision
of this Agreerent.

Section 10.6 Severability. Each provision in this Agreement is in-
tended to be several. if any term or pravision ts illegal ar invalid for any
reasan whatsoever, such illegality or invalidity shall not affect the validity
of this Agreement.

Section 10.7 Certain Elections. Where a distribution of property Is
made in the manner provided in Section 734 of the internal Revenue Code of
1954, or where a transfer of a Joint Venture Interest permitted by this
Agreement is made in the manner provided in Section 743 of such Code, the
Managing Venturer shall file on behalf of the Joint Venture upen any Ven-
turers request an election under Section 754 of such Code in accordance with
the procedures set forth in the applicable Treasury Regulations. Except
insofar as an election pursuant to Section 754 has been made with respect to
the interest of any Venturer, the determination of prefits, losses,
distributions, and capital accounts shall be made as provided for in this
Agreement. With respect to any Venturer whose interest has been affected
by an election pursuant te Section 754, appropriate adjustment shall be made
with respect to the determination of profits, josses, distributions, and
capital accounts. Each Venturar agrees to provide the Managing Veniurers
with all information necessary to give effect te such election.

Section 10.8 Governing Laws. This Agreement shail be construed and
enforced in accordance with the faws of the State of Texas and ail
abtigations are _pertormabie in Bates Coonty yeas:

Section 10.9 Binding Agreement. Subject to the restrictions on trans-
fears and encumbrances set forth herein, this Agreement shall inure to the
benefit of and be binding upon the Venturers and their respective heirs,

executors, legal representatives, successors, and assigns.

Section 10.10 Multiple Counterparts. This Agreement may be executed
in any number of counterparts, aach of which shail be deemed an original
and all of which shall constitute one and the same instrument.

EXECUTED EFFECTIVE AS OF THE DAY “AND YEAR FIRST ABOVE
WRITTEN,

(Attach Signature Pages and Acknowledgements Hereto}

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EXHIBIT "A"
TO THE JOINT VENTURE AGREEMENT
CAPITAL CONTRIBUTIONS OF THE VENTURERS

Share of
Interest

initial Venturers! (nterest
Additional Venturers! {nterest
TOTAL 1

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Percentage
ot
Initial
Inittel Venturers!
Contributions ‘ Interest
Initial
Venturers:

like McAuley Contract rights to 408%

Purchase the

Venture property;
improvement plans &
Specifications; sewage
disposal permits

J. Patrick Duffy Contract rights to 20%

purchase the

Venture property;

improvement plans &

specifications; sewage

disposal permits
David B. Freeman, {iI Ownership rights 40g
in the Venture
Property; improvement
plans & specifications:
sewage disposal permits

VOTAL OF INITIAL VENTURERS! INTEREST 100%

Pepeeptsge
g

 

 

 

 

 

 

Original Capital of
Contribution due Additional
no later than Venturer’s
; August 31, 15981 interest
Additional
Venturers: _~
David Mchavid $17,060.00 " 6. 6665%
ATO Airport Fm...
Trving, TX 75062
Ted Elkins #17, 000,00 6.66663
301 8. Sherman St. :
Richardson, TX 75081
Ben Parker $17,000.00 6.66663

 

450} El Ridge Lane
Garland, TX 75042

EXHIBIT "AN TO JOINT VENTURE AGREEMENT - Page 1
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TK [3525 —_——_—e a

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TOTAL abd STIORAL YVENTURERS

git ,000 99 &.5665%
g v1 000-08 &. 6686%
gry 000.08 5 . 6bBE%
g 11,000.09 & 588%
$17,000.00 6 556%
gi7 200. 00 6, 6866%
11,000.98 6.665%
git ,000.00 5. 6665%
g 171,900.00 6, BGE5%
§711 , G00 .09 5 6666%
gi 00 00 5. 6656%
171,000.00 6. 6666%

INTEREST 00%

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SECOND AMENDMENT TO BEZCHANGE AGREEMENT

This SECOND AMENDMENT TO EXCHANGE AGREEMENT is made and
entered into this Loe day of Duy . , 1983 by and
petween PINE BROOK LARES, INC., a corporation ("Owner No. 1"}

and MICHAEL S. MCAULEY, Individually and as Trustee ("Owner
No. 2").

 

WHEREAS, Owner No. 1 is the owner of Unit Number 1003-4 of
SeaSpray, a Condominium (the "Unit™), currently under construc—
tion in Escambia County, Florida, as more particularly
described in the Exchange Agreement by and between Owner Wa. 1
and Owner No. 2 (therein so called) dated '
1883, which Exchange Agreement has been modified by Amendment
to Exchange Agreement by and between Owner No. 1 and Owner
No. 2 dated er 1983; and

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WHEREAS, Gwner No. 2 is the owner ot certain unimproved
real property situated jn Escambia County, Florida (the "Land"),
as more particularly described in the Exchange Agreement.

NOW, THEREFORE, for and in consideration of the mutual
promises, covenants and conditions herein expressed and for
other good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, Owner Wo. 1
and Owner Wo. 2 mutually agree to amend the Exchange Agreement,
as previously amended by the Amendment to Exchange Agreement,
to provide that notwithstanding anything that may be contained
therein to the contrary!

A. The Lang to be conveyed by Owner No. 2 to Gwner
No. lL pursuant to the Exchange Agreement, as amended, shall
be comprised of the surface estate in and to the real property
described on Exhibit "A" to the Exchange Agreement, and
owner No. 2 shall expxessily reserve unto himself in the
conveyance of the Land toa Owner’No. 1 pursuant to the Exchange
Agreement; as amended, all oil, gas and other minerals on,
in, under and that mey be produced from the real property
described on Exhibit "A" to the Exchange Agreement; provided,
however, Owner No. 2 shall have no xight in and to the surface
of the real property described on exhibit "A" to the Exchange
Agreement of any kind or character whatsoever, including, but
rot limited to, the right of ingress'and egress in, over
ang across the surface of such real property for the purposes
of conducting tests, exploring, maining, Grilling, completing,
aperating ana tesvetoping such ren preperts for—oidy

gas and
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other minerals; and further provided, however, that the
surface of the real property described on Exhibit "A" to the
Exchange Agreement, including the support required for any
existing or planned improvements ‘thereon, shall not he
undermined oF adversely affected by any sub-surface drilling,
tunneling. ar other mining or related activity by Owner No. 2
or his agents, employees, contractors, licensees, lessees,
successors or assigns. Nothing herein contained shall be
construed as relinquishing any right of Owner No. 2 in and

to the oil, gas and other minerals on, in, under and that may
be produced from tne veal property described on Exhibit "A™ to
the Exchange Agreement or the right of Owner No. 2 to exploit,
develop and produce such cil, gas and other minerals by welis
drilled at locations outside the real, property described on
Exhibit "A" toe the Exchange Agreement.
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B- During the period prior to closing Owner Noa. 2
hereby agrees, subject to the conditions and limitations
hereinafter provided for, that Gwner No. 1 may: (lL) design
improvements (the "“Improvements") for the reali property
described on Exhibit "A" to the Exchange Agreement, and make
any necessary applications, either in its own name, or in
the name of Owner Ne. 2, to all appropriate governmental
agencies for all licenses, permits or other approvals which
may be required for the construction of the Improvements;
and (b) enter upon said real property and commence anc pursue
the construction of the Improvements. This agreement is
subject to the following covenants, conditions and Limitations:

(a) All costs associated with the design and construction
of the Improvements, including all permits, fees, taxes
and other expenses, shall be borne by Owner No. 1, and Owner
No. 1 covenants and agrees to hold Qwner No. 2 harmless
against any such costs, and te not permit any mechanics or
materialmen's or other liens to attach to said real property
or the <iprovements, all which duties and obligations shall
survive the termination cf the Exchange Agreement and the
closing thereunder.

{b>} Owner No. Ll agrees to indemnify Owner Ne. 2. and
hola him harmless from any and all damages, claims, suits,
demands and causes of action of all kinds arising out of
the design and construction of the Improvements by Owner No. 1
or its employees, contractors, subcontractors or licensees,
ineluding all costs, including attorney's fees, incurred by
Qwner No. 2 in connection therewith; provided, however,
that Owner No. 1 shall be afforded the opportunity to defend
against any such action at Owner No. 1's sole cosk and expense.
owner No. i agrees to purchase and maintain such insurance
as will protect it and Owner No, 2 from the claims set forth
below which may azise out of or rasult from Owner No. i's
operations in construction of the Improvements, whether such
operations be by itself or by any subcontractor ‘or by anyone
directly ox indirectly employed by it or by anyone for
whose acts it may be liable:

“ claims under workers’ or workmen's compensation,
disability benefit and other similar employee
benefit acts; oO

- claims for damages because of bodily injury,
occunstiona sickness or disease, or dearh
of Owner No. l's employees;

~ claims for damages because of bodily injury,
sickness or disease, or death of any person
other than Owner No. 1's employees;

~ claims for damages incurred by usual personal
injury liability coverage which are sustained
(1) by any person as a result of an offense
directly or indirectly related to the employ-
ment of such person by Owner No. 1, or (4)
by any other person;

- claims tor damages because of injury to or
destruction of tangible property including
loss of use resulting therefrom; and
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 35 o0f53 PagelD 44

C C

- claims for damages because of bodily injury
ox death of any person or property damage
arising owt of the ownership, maintenance
or use of any motor vehicle.

The insurance required hereunder shall be written in
amounts and with insurance carriers acceptable ta Owner
Wo. 2. Certificates of insurance acceptable to Owner No.
2 shall be filed with Owner No. 2 prior to the commencement
of the construction of any Improvements, and such certificates
shall contain a provision that coverages afforded under the
policies will not be cancelled until at least thirty (30)
days prior written notice has been given to Owner No. 2.

(c) The design of the Improvements shall be subject to
the approval of Owner No. 2, such approval to not be un-
reasonably withheld. The design ef the Improvements shall
be deemed to have been approved by Owner Wo. 2 within five
(5) days of his receipt cf a site plan and drawings
describing the Improvements in sufficient detail to permit
Owner No. 1 to apply for a building permit for the constructicn
of the Improvements unless Owner No. 2 shall have objected
thereto as evidenced by notice in writing given in accordance
with the provisions of paragraph 12 of the Exchange Agreement
prier to the expiration of said five day pericd. In the
event Owner No. 2 shall object to the design of the Improve-
nents he covenants and agrees to immediately meet with Owner
No. lo and its architect to make such modifications as may be
required to eliminate such objections, the parties hereto
hereby stipulating and agreeing that time is of the essence
in securing Owner No. 2's approval of the design of the
Improvements.

{d) At closing Owner No. 2 agrees to deed, assign,
set over and transfer to Owner No. 1 all of his right,
title and interest in and to the Improvements. If for any
reason the exchange contemplated by the Exchange Agreement
ig not consummated for any reason other than the defanlt of
Owner No. 2, then Owner No. 2 shall retain all right, title
and interest in anc to the Improvements.

Ce) In the event closing under the Exchange Agreement
shall not be consummated by virtue of a default by Owner Wo.
1 an the performance of its obligations thereunder, then

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No. 2 all of its right, title and interest in and to all permits,
including building permits, licenses, plans, specifications,

and drawings celated to the design and construction of the
improvements.

{£) In the event closing under the Exchange Agreement
shall not be consummated by virtue of a default by Owner No.
lo in the performance of its obligations thereunder, then
Owner No. 1 ayrees to grant to Owner No. 2 a non-exclusive
license and easemant for the benefit of the real property
described in Exhibit "A" to the Exchange Agreement to use the
parking facilities, Sewer plan and the sewer and water lines
appurtenant to serving the SeaSpray Condominiums; subject,
however, to the receipt by Owner No. 1 of all permits, licenses,
Franchises or approvals required of any local, state or federal
governmental agencies necessary to permit such sewer and
water Facilities to be made available to the owners of the
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 36 of 53 ~PagelD 45

C C

Exhibit "A" real property as well as to the owners of the SeaSpréay
Condominium . in the event the conditions - contained in this
subparagraph if) shall save been satisfied Owner No. 1, upon
the request of Owner No- 2, agrees to execute such documents,
all in form and content satisfactory to owner No. .1 and
Owner Ko. 2, aS May be reasonably required to evidence of record
the licenses and easements herein provided for, and in such
eyent Owner No. 1 further agrees to diligentiy seek to obtain
all governmental permits, licenses, franchises or approvals
herein provided for.

the Exchange Agreement, as previously amended by «the
amendment to Exchange Agreement, and as further amended by this
Second Amendment to Exchange Agréement, are hereby ratified,
confirmed and approved, and except as hereby amended shall
remain in full force and effect.

DATED AND EMECUTED as cf the day and year first above
written.

OWNER NO. 1
Attest: . PINE BROOK LAKES, INC.

By? aS

Carter S. Kennedy
President

 

‘Assidfant Beer ek ary |

Styne’, “Ssaned ani del

in _Ene presence of:

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. OWNER HO. 2
Signed, sealed and delivered .

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ae p
in the presence of: - AHA LVEE
% . a ‘fi,
Dp Ba dbn a7

 

_, Michael F. McAuley, IndZvidually
Witness and as Trustee

Mb Ko lentes =
witness)”

ALLEDEPIIA
STATE OF FROREDA)

COUNTY OF LR Sa

sie foregoing instrument wag ackuowledged before me this

day Wuey , L983, by Carter S. Kennedy,
a eoaene o£ eens Brook bakes, Inc., an Alabama corporation,
on behalf of the corporation.

Canto SS SY

Notary Poblic

My Commission Expires: \2.\2 [Re

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 37 of 53

Co C

tabi
STATE OF PRORERA}

MOBILE.
COUNTY OF PCEBMBELA }

whe foregoing instrument was acknowledged pefore me this

_ [S™. day of — yey’ , 1983, by Michael F. McAuley,
Tndividually and as Trustee.

. ne
Onn at Se Wore
Notary Public

valalec

My Commission Expires:

PagelD 46

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 38 of 53

PagelD 47
E PAGE 282
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tan U4 UY Lili ida Qecky NceAuled gvz ua
wv

ASSIGNHENT OF JOINT VENTURE INTER ST
ASS TORROEN, spe

 

THIS AGREEMENT is made by and between Michael F. McAuley,
‘ndividual residing in Dallas, Texas (the “Assignee") and Cavid

an in “
8B. Freeman Tri an individual residing in Daphne, Alabama, {the

tagsslanor> +
WITHESSETH:

WHEREAS, Assiqnor desires to assign all of nis right,
ritie and interest in Forty Percent (40%) of the Initial Managing
yenturers Interest (the 'jJoink Venture TInterest"} as set forth in
the First Revised Joint Venture Agreement of the PERDIDO KEY JOINT
VENTURE, a Texas joint venture tthe "Soint Venture") ta Assiqnee
in consideration of the payment of One Thousand Seven Hundred Fitzy
and No/idd0 Dollars ($1,750.00) in addition to a previous amount
owed per a promissory note dated July 2, 1984, of Six Thousand Five

Leoert ind ts (On Dollars ($6,560.00) .
PTT aa

NOW, THEREFORE, in consideration of the premises and of
ther good and vaiuable consideration, the receipt and surficiency
Oe 2
of which is hereby acknowledged, the parties herete warrant,

represent, covenant and agree as foliows:

1 Assigner, as af this @ate, does hereby assign all of

his right, title and interest in the "Joint Venture Interest" of
- al é ee ple .

  
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 39 of 53 PagelD 48

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the "Joint Venture", ta Assignee in consideration for the payment
of One Thousand Seven Hundred Pifty and No/2ioo Dollars ($21,750.09)
in addition to a previaus amount owed per the promissory note dated
July 2, 1984, of Six Thousand Five Hundred and wNasi00 Dollars
($6,590.00) as delineated above. Assignee shall be substituted in
place of Assignor for rhe "Joint venture Interest" in the Perdido

Key Joint Venture.

>. Assigqnes, as of this date, assumes and shail cantina
to assume, all of Assignor's obligations and liabilities for tne
“Joint Venture Interest" under the Joint Venture Agreement or
otherwise arising from the Joint Venture business on or after this
date in accordance with such Joint Venture Agreenent, and Assignee
does hereby relieve Assignor from any and all such obligations and

liabilities for that "Joint Venture Interast", effective this date.

a. Assignor hereby warrants, represents and covenants
that to the best of his knowledge and beilef there are no
outstanding obligations Gr Tiabilities which are owed to the-ferme
Venture or to third parties as a result of the Assignor being a
3eint venturer thereof and to the extent that any such obligations
or Liabilities ever are manifested as a result of actions of the
Joint Venture or of the Assignor before the date of this Agreement
and Assignor shall indemnify and hold the Assignee harmless

therefrom to the extent of Assignor's obligations.
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 40 of 53 PagelD 49

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Assignor agrees that he shall bear his proportionate
share of the tax effect of all Joint Venture activities occurring,
on an accrual accounting method, prior to the date of this
Agreement; and Assignee shall bear his preportionate share of the
tax effects of all: Joint Venture activities occurring, on an

accrual basis accounting method, on and subsequent to the date of

this Agreement.

This agreement shall imure to the benefit of the parties

hereta, the Joint venture, and shail bind the heirs, execurorse,

personal yepresentatives, administrators and assigns of the parties

heceto.

a

ag ‘ ;
EXECUTED this 9" day of Mbewerver , 1990.

ASSIGNOR?

— “ ~ — en
Sed SS Ryan BS

David 8. Freeman, IIL

ASSIGNEE:

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(eb fp 00 bite

Michael F. McAuley off

Lad
Case 3:13-cv-02542-B Document 1-1

81/88/2889 11lias #1 8386967756

HE STATE OF _-' vt.

COUNTY OF | 7

 

BEFORE ME, the undersigned,

Filed 07/13/12 Page 41 of 53 PagelD 50

LAND CQ OF THE Su PAGE 85

a Notary Public in and for said

County and State, on this day personally appeared fuyvirnie f

Oe : ie

e

L , known to me to be the person whase name

is sees to the foregoing

instrument,

and acknowledged to me

that he executed same for the purposes and consideration therein

expressed.

GIVEN UNDER MY HAND AND SEAL OF OFFICE, this ees

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feet nat ey ,

1996.

My Commission expires:

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THE STATE OF (cid.
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BEFORE ME,
County and State,

the undersigned,

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State of ‘fc gl
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a Notary Public in, and for said
on this day personally appeared _ ™

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L Lik , Known to we to be the person whose name

is supscribed ta the Foragoing instrument,

and acknow1 edged to me

that he executed same for the purposes and consideration therein

expressed.

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i: 1996.

My Commission expires:

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NOTARY PUBLIC in and ‘for the
State of | SLED gene

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{Print name of Notary here)
Case 3:13-cv-02542-B

Document 1-1 Filed 07/13/12 Page 42 of 53 PagelD 51

GEARY, PORTER & DONOVAN

A PROFESSIONAL CORPORATION

 

 

ATTORNEYS AMD COUNSELS as

ONE BENT TREE. TOWER
16475 DALLAS PARKWAY, SUITE 400
ADDISON, TEXAS 75001-6837

POST OFFICE BOX 700248
DALLAS, TEXAS TRETO-O24
JEFFREY L. FISHER , “

E-MAIL ADDRESS:
Direct DIAL NUMBER. fisher@gpad.com
(972) 349-2201

January 12, 2009

VIA FIRST. CLASS MAIL AND
CERTIFIED MAIL RETURN RECEDPT

David B. Freeman Hi!
604 Sandpiper Lane.
Daphne, Alabama 36526

Re: Perdide Key Joint Venture (the “Joint Venture”)

Dear Mr. Freeman:

As you aware, by Assignment of Joint Venture Interest dated January 31, 1990 (a copy of which is
enclosed) you assigned all of your interest in Perdido Key Joint Venture to Michael F. McAuley (the "Joint
Venture Interest"). The Joint Venture Interest assigned by you to Mr. McAuley is now owned by Frost
National Bank, Trustee of The McAuley Marital Trust U/W dated 3/24/2006 ("The McAuley Trust”).
Notwithstanding your assignment of the Joint Venture Interest to Mr. McAul

ey you have continued to have
certain access fo the Joint Venture property.

This firm has been requested by the Perdido Key Joint Ven

ture and The McAuley Trust to give you
written notice that effective immediately you will no Songer be allowed any access to the Joint Venture

property. Please promptly forward any and all keys that you have to the Joint Venture property to me at the
address set forth above.

Your prompt attention fo the foregoing is appreciated.

Very truly yours,

GEARY, PORTER & DONOVAN,
A Professional Corporation

 

eC Perdido Key Joint Venture
cio J. Patrick Duffy, Managing Venturer

Frost National Bank, Trustec of The McAuley Marital Trust
Attn: Mary Coane

- Enclosure

 

 

(972) GR1-9901 + racsIMILE (972) 931-2208 = wew.gpd.com

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Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 43 of 53 PagelD 52

Bevim Gropsxy, B.C.

ATTORNEYS AT LAW
454 DAUPHIN STREET
MOBILE, ALABAMA GOGO? a
(251) 488-0657 Sale
IRwin GRODSEKW MAILING ANDRESS?
Terre S. Owens P.O. Box 3128

February 4 3009 MOBILE, ALABAMA, acess “

Fax (261) 433-3670

 
 

Jeffrey L- Fisher
Attorney at Law

Geary, Porter & Donovan
Post Office Box 700248
Dallas, Texas 75370-0248

Re. David B. Freeman, HI
Perdido Key Joint Venture

Dear Mr. Fisher:

Your letter dated January 12, 2009 to Mr. David B. Freeman TI has been received. Pleass
be advised that The McAuley Marital Trust has misconstrued the intent of the Assignment of
Joint Venture Interest to which reference is made in your letter. This document was always
intended as a pledge agreement 10 Secure repayment of the debts recited in the document which
amount was agreed to total $10,000.00. Mr. Freeman had numerous conversations with Mr.
McAuley, his cousin, and Mr. McAuley’s wife, Becky, regarding the fact that Mr. McAuley
wanted the security document solely as collateral. Mr. McAuley on numerous occasions told
David Freeman that he could wait to repay the borrowed funds. Even after Mr. McAuley’s
untimely death, Mr. Freeman’s conversations with Becky McAuley indicated that she was aware
that the assignment was solely for the purpose of collateralizing the debt.

Hopefully, the Trustee will consult with the beneficiary of the trust, she will confirm the
above, and the Trustee will agree to treat the Assignment in accordance with the intent of the
parties. However, ‘f the Trustee wishes to interpret the Assignment literally, please note that the
property interest assigned is an interest as set forth in the First Revised Joint Venture Agreement.

Mr. Freeman’s claim to an interest in the condominium is based on a percentage of the Initial
Wiarazing Venturers-interest-as set forth inthe Second Revised Joint Venture Agreement. The
Second Revised Agreement was executed in 1983 and was in existence on January 3, 1990, the
date thatthe Assignment was executed. Clearly, it seems, the parties inten ded for Mr. Freeman
to assign his rights under the first revision and to retain his rights under the second revision. No
document purports to assign Mr. Freeman’s interest pursuant to the Second Revised Agreement
and he still owns it. The condominium unit is owned by the Joint Venture pursuant to the
Second Revised Agreement. The Trust has no authority for interfering with Mr. Freeman’s right
to enjoy his ownership rights.

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 44 of 53 ~PagelD 53

Jeffrey L. Fisher
January 4, 2009
Page 2

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Furthermore, the Trust is estopped from claiming that Mr. Freeman transferred his
interest in the Joint Venture in 1990. Mr. Freeman has provided management services to the
joint venture based op his membership interest without any one, including Mr. McAuley, ever
contending that Mr. Freeman was not a member and Mr. Freeman has used the condominium
unit in accordance with the rights of a member without objection from anyone at all times after

the execution of the Assignment. The lockout in January, 2009 came as a complete surprise to
him.

Given the foregoing, you are requested to have your client provide Mr, Freeman with a
key to the unit, amend the Assignment to make it clear that the document is a pledge agreement,
enter into a payment arrangement with Mr. Freeman, return his manager status to him, and
accommodate his request for a two week use of the unit.

Please advise of your clients position no later than Monday, February 16, 2009.

Ww truty yours,

Mh
oe

Irvin Grodsky
Git
CO: David B. Freeman, HI

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 45 of 53 PagelD 54
ent G.3 72931 S901 5 16 Feb 09 6. 10PMj;Job G04;Page 2/3 .
sent Bre GEARY PORTERGUONOVAN, FO. 5 g72gs1S00T ;

GEARY, PORTER & DONOVAN

A PROFTESIONAL CORPORATION

ANVTORMETS AND COUNSELORS

 

 

ONE BENT TREE TOWER
{6479 DALLAS PARIWAY, SLUTE 200
ADDISON, TEXAS FS601- say

POST OFFICE Box yoazaw

DALLAS, TEXAS |
JEFTREY .. FISHER FIs 7o-O248

Omect DIAL NUMBER: si = -
(B72) S49-2704 i ‘@opd coca

February 16, 2009

VIA FACSIMILE (25)) 433-3670
AND FIRST CLASS MATL

Mr, Irvin Grodsky
tevin Grodsky, PAC
Attorneys at Law

454 Dauphin Street
Mobile, Alabama 36602

Re: David 5. Freeman, 1
Perdido Key Joint Venture (the "Joint Venture"}

Dear Mr. Grodsky:

Fam in receipt of your letter dated February 4, 2009. I pravided a copy of your letter ta Becky
McAuley and discussed this matter with her. Based on such discussions Lam providing this response
to your letter,

It appears to me that if the parties intended for the Assignment of Jomt Venture Interest (the
"Assigmment") to be a pledge agreement, then they would have entered into a pledge agreernent
tather than the Assignment, The Assignment is certainly not ambiguous as to its intent to be an
assigmment of all of Mr. Freeman's joint venture interest in the Joint Venture.

Mr. McAuley expressly transferred the interest received from Mr Freeman io. The Mo Ay nley
Marital Trusi which is firther evidence of Mr. McAuiley's intent that the Assignment was an absolate
assignment and not merely a security document solely as collateral. Mrs. McAuley does not recall
any conversations with her busbend regarding the Assignment being intended to be a security

document solely as collateral. Mr. Freeman is the only person who has suggested it was meant as
such.

Based on the documents I have been provided, the reference to Mr. Freeman's joint venture
interest as an Initial Venturer is the same in both the First Revised Joint Venture Agreement and the
Second Revised Joint Venture Agreement, The Assignment assigns all of Mr. Freeman's interest in
the Joint Venture. There is no provision in the Assignment thal any rights were intended te be

 

 

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Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 46 of 53 PagelD 55

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Seat By> GEARY PORTERBDONOVAN,P.C.; e729a1 Sao ; 6 ;

Mr. Irvin Grodsky
February 16, 200¢
Page 2

retamed by Mr. Freenar.

The fact that Mr. McAuley may have allowed access to the Joint Venture property after Mr.
Freeman's execution of the Assignment as an act of kindness to his cousin, does not restrict the
successat owners of such Joint Venture Interest from exercising their rights related thereto.

Very truly yours,

GEARY, PORTER & DONOVAN,
A, Professional Corporation

By: Af feu a 4. _

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Sent By: GEARY PORTERS.OONOVAN ,P.C. 3

Case 3:13-cv-02542-B Document 1-1

MA ° a wy
@72931 8501;

GEARY, PORTER & DONOVAN
A PROFESSIONAL CORPORATION

 

_ ATTORNEYS AND COUNSELORS

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ONE SENT TREE TOWER
18076 DALLAS PARKWAY, SUITE 400
ADDISON, TEXAS 7500r-aaga7

POST OFFICE BOX 7oozda
DALLAS, TEXAS 75970-0748
{972} 827-on0t
CACHIMILE {972% 584 .o208

FACSIMILE COVER LETTER
FROM: Jeff Fisher
DATE: February 16, 2000
SENDER’S DIRECT DIAL NO.: 201
NUMBER OF PACES (ONCLUDING COVER): 3
CLIENT/MATTER NO: 14655-50191

PLEASE DELIVER THE FOLLOWING PAGES FO:

 

 

 

 

 

Name: Company

 

 

 

 

Warsimile No.:

 

1. Mr. Irvin Grodsky | Irvin Grodsky, P.C. 241-433-3670

 

 

 

 

 

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3.

 

 

 

 

 

 

 

 

 

 

 

 

SPECTAL INSTRUCTIONS

Filed 07/13/12 Page 47 of 53 PagelD 56

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CONFIDENTIALITY NOTICE

Ifyou de not receive all pages, pleuse call Cindy Buckser ut (972) 349-2265 ASAP.

Thank you,
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 48 of 53. PagelD 57

IRVIN GrRopsnry, P.c.
ATTORNEYS AT LAN
4154 DAUPHIN STREET
MOSILG, ALABAMA SCG602
(251) 483-3687

Trmvin GRoosiv MAILING ADDRESS:
. P.O. Rox 8125
Terrie S. Owens
RLOBILE, A ELA < oe
August 28, 2009 LABAMA GOCE

Pax {251} 495-8670

Jeffrey L. Fisher
Attomey at Law
Geary, Porter & Donovan
‘Post Office Box 700248 .
Dallas, Texas 7537G-0248

Re: David B. Freeman, I]
Dear Mr. Fisher:

Tt has been several months since [ received your response to my request in behalf of
David Freeman seeking the recognition by al] joint venturers of Mr. Freeman’s interest in the
Perdido Key Joint Venture. During this period of time, Mr. Freeman has been denied use of the
Unit for the weeks that traditionally have been allotted to him. As noted previously, Mr. Freeman
acknowledges an indebtedness to the estate of Michael McAuley which was secured by the
assignment of his interest in the joint venture. He is agrecable io paying the amount of that
indebtedness upon confirmation that the estate or the Marital Trust, whichever is applicable, will
advise the governing body of the joint venture that he owns and is entitled to enjoy the Joint
venture interest for which he contributed his time and expertise to obtain.

While your letter states that the Assignment contains no language limiting the effect of
che Assignment to an assignment for security, your letter fails to explain why Mr. McAuley, after
receipt of the Assignment in 1999 and during his lifetime, never stated that the Assignment was
to be an absolute assignment and, to the contrary, stated that it was to be held only until Mr.
Freeman paid back the loaned amount, why Mr. McAuley, after receipt of the Assignment and

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with the normal schedule for usage by each member, but also encouraged Mr. Freeman to expend
time and effort in protecting, maintaining, and improving the Unit, and why, even after Mr.
McAuley’s death, his wife, for two years, never sought to interfere with Mr. Freeman’s
ownership rights. It is my understanding that for a period of years no one ever expressed the
position that the Assignment was intended to be absolute until the Bank became the Trustee and
somehow received possession of the Assignment document.

This problem needs resolution without the necessity of a legal proceeding. Please advise
if the estate or Marital Trust will accept payment of the full amount plus interest in exchange for
the cancellation of the Assignment and the recognition by the Joint Venture of Mr. Freeman’s
ownership rights.

 
~ Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 49 of 53 PagelD 58

Jeffrey L. Fisher
August 28, 2009

Page 2
Thank you and I look forward to hearing from you.
_.. Very truly yours,
\
Wh 3
Irvin Grodsky
IG:ht
File 3355

ce: David B. Freeman, HI

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 50o0f53 PagelD 59

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4

mths Mary A. Coane, CTA,
4 aw Frost VP & Trust Adenin

Frost Financial Management Grp.
Tel: 214.515 4953
Fax: 214.515.4939

8261 Preston Road ‘
Dallas, Texas 75225

September 14, 2009

Mr. Irvin Grodsky, P.C.
454 Dauphin Street.
Mobile, AL 36602

RE: Perdido Key
Dear Mr. Grodsky:

We are in receipt of “your letter dated August 28, 2009 addressed to Jeffrey Fisher of Geary,
Porter & Donovan. Becky McAuley has asked ns to respond to this letter as Trustee of the
Marital Trust, which as you know owns 40% of MEM Perdido Key LLC.

We are in possession of the on ginal Assignment executed by David B. Freeman, UT and Michael
F, McAuley on January 31, 1990, As Mr. Fisher indicated in his correspondence of February 16,
2009, there is no provision in the Assignment that any rights were.intended to be retained by Mr.
Freeman. If you have any written documentation that would question the validity of the
Assignment, please forward the information to iny attention at your earliest convenience.

Based upon the limited information we have, we cannot consider accepting full payment plus
interest in exchange for the cancellation of the Assignment,

Should you have any questions, please feel free to contact me at 214.515.4953. Thank you.

Sincerely

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» wWvlary OANe

ce: Hardie Herman, SVP & Manager E
Becky McAuley ep

& subsidiary of Cullen / Frost Bankers, luc, NYSE Symbol: CFR,

 
Case 3:13-cv-02542-B Document 1-1 Filed 07/13/12 Page 51o0f53 PagelD 60

BEGGS & LANE

RUSSELL A, BADDERS
MARY JAME BASS
ELIZABETH C. CALLAHAN

SO} COMMENDENCIA STREET
A AEMISTERED LIMITED UABILITY PARTNERSHIP PENSACOLA, FLORIDA B25O02-595

oo TELEPHONE (650) 432-2461
JAMES &. CAMPBELL ATTORNEYS AND COUNSELLORS AT LAW TELECOPIEZR (BSD) AGG-A351
Ob! DANIEL, COOKE POST OFFICE BOX 12850

J. NIXON DANIEL ff PENSACOLA, FLORIDA SA SO" 950 W, SPENCER MITCHEM

JOHN P. DANIEL
TERRIE L. OIDIER

W. LEE ELERASH
THOMAS F, GONZALEZ
STEVEN PR. GRIFFIN
BRET M. KANIS

GARY B. UZUCHTMAN
WACK W, LIRITON Uf
DAVIO L. McGEE
GREGORY R. MILLER August 17,2011
WILUAM H. MITCHEM
RALPH A, PETERSON
JEFFREY A. STONE
DAVID @. TAYLOR II
RUSSELL F. VAN SICKLE
MATTHEW BD. VINSON
JAMES M, WEBER
CHARLES T. WIGGINS
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VIA FIRST CLASS U.S. MATL

Jeffrey L. Fisher, Esq. : Ho
Geary, Porier & Donovan 7: 4.
P.O. Box 700248
Dallas, TX 75370-0248

 

Re: David B. Freeman v. Frost National Bank, Trustee for the McAuley Marital Trust

Dear Sr,

Our firm now represents David B. Freeman (“Freeman”) with regard to the above-referenced
matter. Please direct all future correspondence and/or notice to Freeman concerning the matter to my
attention at the address listed above.

We have reviewed the Second Revised Joint Veniure Agreement of Perdido Key Joint Venture
(“Agreement”) and the Assignment of Joint Venture Interest (‘Assignment’). We have also reviewed
the 2009 correspondence between yourselves and Mr. Irvin Grodsky, the Freemans’ previous attorney,
regarding the same. Contrary to your assertions therein, the Assignment was not an effective transfer of
Freeman’s interest in the Perdido Key Joint Venture (Joint Venture”) to Mike McAuley (McAuley”),
nor was it intended to be. For the reasons set forth below, Frost National Bank (“Frost”), in the name of
the McAuley Marital Trust (“Trust”), has wrongfully interfered with Freeman’s use and enjoyment of
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The Agreement clearly states that “the interest of a Venturer in the Joint Venture may not be
assigned, sold, transferred, hypothecated or otherwise disposed of without the prior written consent of
sixty percent (60%) in interest of the Venturers.” See Art. VIL, § 7.1{a) (emphasis added). The parties
thereto obviously understood this requirement, as section (d) expressly acknowledges the Venturers’
approval of an assignment by Freeman of 25% of his interest in the Joint Venture to one Robert Griffin.
See Art. VIL, § 7.1(d). No such written consent was sought or given by the members of the Joint
Venture prior to execution of the Assignment (none of them even knew Freeman was pledging his
ownership interest as security for the debt, as this was a personal matter between cousins Freeman and
McAuley). Thus, the purported “transfer” of Freeman’s interest was ineffective as a matter of law. See
Rafkind v. Simon, 402 So0.2d 22, 23 la. 3d DCA 1981)(A partner may not assign his interest in a
partnership without obtaining consent of the remaining partners where the joint venture agreement
prohibits such an assignment without consent.”); Rodgers v. RAB Investments, Lid, 816 S.W.2d 543, 547
(Tex. App. Dallas 1991) (citing Rafkind v. Simon).
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August 17, 2011
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Furthermore, even if the Assignment was valid without the prior written consent required in the
Agreement, the facts of this case fit squarely within the doctrine of reformation based on mutual mistake.
See Providence Square Association, inc. v. Biancardi, 507 So.2d 1366, 1369-1372 (Fla. 1987); USAA Cas.
Ins. Co. v. Threadgill, 729 So.2d 476, 478 (Fla. 4th DCA 1999). The Assignrnent, as written, does not
accurately reflect the true intention and agreement between Freeman and McAuley. The parties agreed to
a collateral assignment, not a full transfer of Freeman’s interest, and due to some unknown error or
inadvertence, something different is expressed in the Assignment. Freeman is entitled to reformation of
the Assignment so that it accurately reflects the true terms of the agreement actually reached.

At the very least, Freeman and his wife, Alice Freeman, are entitled to equitable relief as a result
of Frost’s actions. Frost should be equitably estopped from enforcing the Assignment according to its
actual terms due to McAuley’s misrepresentation of the nature of the Assignment and Freeman’s
detrimental reliance thereon, including but not limited to the endless hours and effort dedicated to
maintaining and remodeling the condo unit over the last 20 years aftcr various hurricanes blew through.
ff McAuley, as predecessor in interest to the Trust, intended the Assignment to be a true assignment, he
was unjustly enriched by the benefits conferred upon him by the Freemans under the mistaken helief that
they were part-owners of the condo unit.

Freeman acknowledges and has offered to pay, in previous correspondence, the debt reflected in
the Assignment. He is also willing to pay reasonable interest thereon, subject to set-off of the value of
the denied use and enjoyment of his Joint Venture interest for the past three (3) years. If Frost is
unwilling to renounce its claim on Freeman’s interest in the Joint Venture under such terms, the
Freemans will pursue the legal remedies available to them. Let me‘ hear from you within ten (10) days
of the date of this correspondence if Frost wishes to accept Freeman’s offer of settlement.

Please govern yourself accordingly, for you shall receive no further notice.

Sincerely,

    

-Wixon Daniel, IL
For the Firm

Ct! Mr. and Mrs. David B. Freeman
Perdido Key Joint Venture, c/o J. Patrick Duffy (Managing Venturer)
 

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